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                                                                       Service of Process
                                                                       Transmittal
                                                                       11/05/2020
                                                                       CT Log Number 538544078
TO:      Maria V Vargas, General Counsel
         Ecopetrol America LLC
         2800 POST OAK BLVD, SUITE 4500
         HOUSTON, TX 77056-6179

RE:      Process Served in Texas

FOR:     Ecopetrol America LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  RE: Atlantic Maritime Services, LLC // To: Ecopetrol America LLC
DOCUMENT(S) SERVED:               -
COURT/AGENCY:                     None Specified
                                  Case # None Specified
NATURE OF ACTION:                 Letter of Intent
ON WHOM PROCESS WAS SERVED:       C T Corporation System, Dallas, TX
DATE AND HOUR OF SERVICE:         By Certified Mail on 11/05/2020 postmarked: "Not Post Marked"
JURISDICTION SERVED :             Texas
APPEARANCE OR ANSWER DUE:         None Specified
ATTORNEY(S) / SENDER(S):          None Specified
ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1ZX212780109442830

                                  Image SOP
                                  Email Notification, Maria V Vargas mariavi.vargas@ecopetrol-usa.com

SIGNED:                           C T Corporation System
ADDRESS:                          1999 Bryan Street
                                  Suite 900
                                  Dallas, TX 75201
For Questions:                    866-665-5799
                                  SouthTeam2@wolterskluwer.com




                                                                       Page 1 of 1 / AS
                                                                       Information displayed on this transmittal is for CT
                                                                       Corporation's record keeping purposes only and is provided to
                                                                       the recipient for quick reference. This information does not
                                                                       constitute a legal opinion as to the nature of action, the
                                                                       amount of damages, the answer date, or any information
                                                                       contained in the documents themselves. Recipient is
                                                                       responsible for interpreting said documents and for taking
                                                                       appropriate action. Signatures on certified mail receipts
                                                                       confirm receipt of package only, not contents.
                                            Debtors' Exhibit No. 9
                                                Page 1 of 87
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                                                 From:   LUGENBUHL,WHEATON,.PECK,RANKIN & HUBBARD
                                                                         A LAW CORPORATION
                                                                      PAN-AMERICAN LIFE.CENTER
                                                                   601 POYDRAS STREET, SUITE 2775.
                                                                    N EW ORLEANS, LOUISIANA 70130



                                                                   Ecopetol America LLC -
                                                                   through its registered agent,
                                                                   C T Corporation System
                                                                   1999 Bryan St., Ste. 900
                                                                   Dallas, TX 75201-3136-




                                                             Debtors' Exhibit No. 9
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                                   Lugenbuhl
                          LUGENBUHL,WHEATON,PECK,RANKIN & HUBBARD
                                        A LAW CORPORATION
                        601 POYDRAS STREET I SUITE 2775 I NEW ORLEANS,LA 70130

                                   TEL: 504.568.19901 FAX: 504.310.9195
Stewart F. Peck                                                                 E-mail: speck@lawla.com


                                           October 30, 2020

VIA U.S. CERTIFIED RETURN RECEIPT
AND FACSIMILE —(713)634-3808
 Ecopetrol America LLC                                 Ecopetrol America LLC
 2800 Post Oak Boulevard                               through its registered agent,
 Suite 4500                                            C T Corporation System
 Houston, TX 77056                                     1999 Bryan St., Ste. 900
                                                       Dallas, TX 75201-3136

         Re:      Demand for Payment
                  Our File No. 37647.200676

Dear Sir or Madam:

       Enclosed please find copies of the Statement of Privilege recorded by Atlantic Maritime
Services, LLC ("Atlantic") against the following property:

                  Title of Document:   Statement of Privilege
                  Claimant:            Atlantic Maritime Services, LLC
                  Parishes:            St. Tammany, Orleans, St. Bernard and Plaquemines
                  Lease:               OCS-G-28030
                  Field:               Mississippi Canyon — 948
                  Operator:            Fieldwood Energy, LLC
                  Principal Amount:    $5,842,744.68

         The records of BOEM indicate that you own a working interest in the above property.

        Demand is hereby made upon you to pay Atlantic $5,842,744.68, together with interest
thereon, the cost of filing the lien and attorney's fees of 10% percent of the amount sought to be
collected.

        Failure to pay Atlantic $5,842,744.68 within seven (7) days from date hereof will leave
Atlantic no alternative but to file a Complaint against you in the United States District Court for
the Eastern District for Louisiana seeking the recognition and enforcement of its privilege, i.e. its
Louisiana Oil Well Lien, against your interest in the above property for the aforesaid amount.
Additionally, pursuant to La. Rev. Stat. 9:4871, Atlantic will seek a Writ of Sequestration, without
the necessity offurnishing bond, be issued. Once the Writ of Sequestration is issued, Atlantic will




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October 30, 2020
Page 2
record it in the records ofthe Clerks ofCourt for the Parishes of St. Tammany,Orleans, St. Bernard
and Plaquemines and with BOEM to effectuate a paper seizure of your working interest and other
rights in the above described property.

        Nothing herein shall be construed as Atlantic taking any action whatsoever against the
Operator, Fieldwood Energy, LLC or any of its affiliates or any of their interests or rights they
may have in the above described property, as Atlantic is stayed from proceeding against same
pursuant to 11 U.S.C. §362. Atlantic does, however, reserve the right to seek to move to lift the
stay order in the Fieldwood Chapter 11 proceeding to have your interest sequestered and seized as
to any proceeds payable to you from the sale of hydrocarbons attributed to your interest against
which Atlantic's liens attach.




SFP/yam
Enclosure




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1340 Poydras Street, 4th Floor                                            Land Records Division
New Orleans, Louisiana 70112                                              Telephone(504)407-0005




                                  Chelsey Richard Napoleon
                                 Clerk of Court and Ex-Officio Recorder
                                           Parish of Orleans


                       DOCUMENT RECORDATION INFORMATION


     Instrument Number: 2020-24965

     Recording Date: 7/16/2020 01:40:54 PM
     Document Type: LABOR/MATERIAL LIEN
     Addtl Titles Doc Types:


     Mortgage Instrument Number: 1334982




     Filed by: SHER GARNER
               909 POYDRAS ST 28TH FLOOR


               NEW ORLEANS,LA 70112




      THIS PAGE IS RECORDED AS PART OF YOUR DOCUMENT AND
              SHOULD BE RETAINED WITH ANY COPIES.




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                                                                                     2020-24965 Page 1 of 17




                                                                          (Mississippi Canyon 948 #4)

                               STATEMENT OF PRIVILEGE

      BEFORE ME,the undersigned Notary Public, duly commissioned and qualified for the
County ofHarris, State ofTexas, personally came and appeared:

        ATLANTIC MARITIME SERVICES LLC,a Delaware limited liability company
       ("Claimant")

       who states that it has aclaim,
                               _      lien and privilege pursuant to La. R.S. 9:4861 et seq., as
follows:

 1)     Name and Address ofClaimant:

           Atlantic Maritime Services LLC
           5847 San Felipe, Suite 3300
           Houston, TX 77057

       Nature and amount ofthe obligation for which Claimant's privilege is claimed:

           Labor, materials, services and related supplies and expenses,in connection with
           offshore drilling services under a contract between Claimant and the Operator for the
           Well(as defined in Section 5 below)in the amount of$5,824,744.68, plus
           contractually owed interest at the rate of 10 percent per annum,and contractually
           owed attorneys' fees and expenses(collectively, the "Obligations"). The Obligations
           include, but are not limited to obligations owed to Claimant(a)as a contractor for the
           price ofits contract with Operator for operations with respect to the Well; and(b)as a
           seller for the price of movables sold to Operator that are incorporated in the Well or
           in a facility located on the well site; consumed in operations; and/or consumed at the
           site ofthe Well by a person performing labor or services on the site ofthe Well
           located in the water ofthe State ofLouisiana. Invoices evidencing the Obligations
           are attached hereto. The date ofthe last activity giving rise to Claimant's privilege
           set forth in this Statement ofPrivilege is July 4,2020.

3)     Name and address ofthe person owing the amount for which Claimant's privilege is
       claimed:

          Fieldwood Energy LLC
          2000 W.Sam Houston Parkway South, Suite 1200
          Houston,TX 77042

4)     Name and address ofthe operator ofthe well as shown by the records ofthe Commission
       ofConservation:
                                                                              Chelsey Richard Napoleon
                                                 1                         CLERK OF CIVIL DISTRICT COURT
                                                                   INST 4: 2020-24965 07/16/2020 01:40:64 PM
                                                                                TYPE: LABOR 17 PG(S)
                                                                                  MIN*: 1334982


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           Not applicable as this well is located on the Outer Continental Shelf; however,the
           Operator ofthe Well is as follows:

           Fieldwood Energy LLC
           2000W.Sam Houston Parkway South, Suite 1200
           Houston, TX 77042

5)     Description ofthe Operating Interest Upon Which the Privilege is Claimed, or ofthe
       Well with Respect to Which the Operations Giving Rise to Claimant's Privilege were
       Performed:

           The privilege is claimed upon the operating interest of Fieldwood Energy LLC in
           Mississippi Canyon Block 948,Lease No.OCS-G-28030(the "Lease"), and Well#4
          (OCS-G-28030) drilled by Claimant on behalf of Fieldwood Energy LLC during the
           time from Jmie 4,2020,until July 4,2020(the"Well"),including the operating interest
           under which the operations giving rise to the Claimant's privilege are conducted
           together with the interest ofthe lessee and/or operator of such interest in any (a) well,
           building,tank,leasehold pipeline, and other construction or facility on the well site;(b)
           movable on the well site that is used in operations, other than a movable that is only
           transiently on the well site for repair, testing, or other temporary use;(c)tract ofland,
           servitude, and lease described in La. R.S. 9:4861(12)(c) covering the well site of the
           operating interest; (d) drilling or other rig located at the well site of the operating
          interest ifthe rig is owned by the operator or by a contractor from whom the activities
           giving rise to the Claimant's privilege emanate; (e) the interest of the operator and
           participating lessee in hydrocarbons produced from the operating interest and the
          interest of a non-participating lessee in hydrocarbons produced from that part of his
          operating interest subject to the privilege; and (f) the proceeds received by, and the
           obligations owed to, a lessee from the disposition of hydrocarbons subject to the
           privilege.

        This Statement of Privilege is made by Claimant for the purpose of preserving its claim,
lien and privilege as a provider of materials, labor and services for and to the Operator and Well
described above, including, without limitation, all claims, liens and privileges under La. R.S.
9:4861 et seq., and all claims for interest due on the obligations, along with the cost ofpreparing
and filing this Statement ofPrivilege, and attorneys' fees and costs, to the fullest extent permitted
by applicable law.

           [remainder ofpage intentionally blank - signature follows on next page




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       Date: July )5,2020                  ATLANTIC MARITIME SERVICES LLC,
                                           a Delaware limited liability company


                                           By:
                                           Nan J'J,.5,0,
                                                                A cZ-
                                                                        11-6-qA,fcc:z.
                                           Title: n
                                                      ecc
Sworn to and subscribed before me,Notary Public,
this 15A day ofJuly 2020.


Not    ublic
Notay rRollNo. %15
My Commission Expires:                tq )Ars



                JUANITA FLOOR
          .Notary Public, State of Texas
  grte  o
            Comm. Expires 04-19-2023
               Notary ID 11589836




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                                                                                                         2020-24965 Page 4 of 17




                                              Aeantie Warne Senice LLC
                                              5847 San Felipe, Suite 3500                                            INVOICE
                                              Houston:1X 77057
                                              RIOISM (28)809.0377




          TO: FIELDWOOD ENERGY LLC                                                   INVOICE NO:. FWD2007260 -
              2000 W.SAM HOUSTON PARKWAY SOUTH                                     INVOICE DATE:    7/1/2020
               SLUE 1200                                                      CUSTOMER NUMBER: 1348
               HOUSTON,TX 77042                                                   PAYMENT TERM      45 DAYS

                                                                                            RIG: Resolute- DS-16
               ATTN: AP DEPARTMENT                                                 WELL NUMBER: MC-946#4
                                                                                      LOCATION: MC-948 #4



         AFE: FW205014



           DAYWORIC BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JUNE
           PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
         ' AND SIGNED RIG TIMESHEET ATTACHED.

               FROM 16:00 HOURS ON 06104/2020 THRU 24:00 HOURS ON osnormo


               DAYRATE EFFECTIVE
                                                                                    DAYRATE
                              568.0 HOURS OPERATING AT                               $185,000.00   $4,378,333.31
                                0.0 HOURS STANDBY AT                                 $181,300.00           $0.00 .
                                0.0 HOURS REDRIU.                                    $166,500.00'          Moo
                               16.0 HOURS REPAIR SUBSEA RATE                         $185,000.00     $123,333.28
                                0.5 HOURS REPAIR SURFACE RATE                        $185,000.00       $3,854.17
                               47.5 HOURS MOVE RATE                                  $181,300.00 $    358,822.92
                                0.0 HOURS FORCE MAJEURE                              $166,500.00           $0.00
                              632.0 TOTAL HOURS


               Crew Shortage




                                                                                AMOUNT DUE:         $ 4,864,343.68




                   REMIT ACH PAYMENTS TO:                                        Coding: BU10079
      Beneficiary Atlantic Maritime Service LLC                                      (4,378,333.31) 10417- 110-4202-810101
      Wells Fargo Bank, NA                                                                     - 10417- 110-4202-810102
                                                                                               -     10417- 110-4202-810110
      San Fransisco, CA
      SWIFT Code:WFBIUS6S                                  Digitally signed            (127,187.45) 10417- 110-4202-810103
      ABA p1210-00248                                      by Ben                      (358,822.92)• 10417- 110-4202-810104
      Account #4669481673                       fV.11,2,,_ Date:
                                                           2020.07.02                               ED
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                                                                                          R202 Billing worksheet_2020 - June 4-30. 2020




FIELDWOOD
Resolute                                                                                           WELL NAME!LOCATION:                     MC-948 04
                                                                                                                           AFE             FW205014



June 2020                                                                                                                                                                    REPAIR            REPAIRS

                                                                                                             OPERATING           STANDBY REDRILL RATE        MOVE RATE       SURFACE         SUBSEA       MOVE      *oRce MAJEURE          TOTAL
    DATE         DESCRIPTION OF WORK                                                                           5185.000          $181,300    $166.500           $181,300        $185.000      $185,000     $181.300    •  $166.500         HOURS

  1 June 2020                                                                                                                                                                                                                                 0.0
  2 June 2020                                                                                                                                                                                                                                 0,0
  3 June 2020                                                                                                                                                                                                                                 0.0
  4 June 2020    Moving as directed                                                                                                                                    8.0                                                                  ' 8.0
  6 June 2020    Working as directed. Moved and Repaired(ChangIng out Blue Max cable)                              10.0                                               2.0                          12.0                                      24.0
  8 June 2020    Working 89 directed and Repelred(Chonging out Blue Max cable)                                     20.0                                                                             4.0                                      24.0
  7 June 2020    Working as directed                                                                               24.0                                                                                                                      24.0
  8 June 2020    Working as directed end Moved                                                                     20.0                                               4.0                                                                    24.0
  9 June 2020    Working as directed, repaired end Moved                                                           16.5                                               7.0             0.5                                                    24.0
 10 June 2020    Working aa directed                                                                               24.0                                                                                                                      24.0
 1 1 June 2020   Working as directed                                                                               24.0                                                                                                                      24.0
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 25 Juno 2020    Working es directed                                                                               24.0                                                                                                                      24.0
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 27 June 2020    Working as directed and Moved                                                                     20.5                                               3.5                                                                    24.0
 28 June 2020    Working as directed and Moved                                                                     13.0                                              11.0                                                                    24.0
 29 Juno 2020    Working as directed                                                                               24.0                                                                                                                      24.0
 30 Juno 2020-   Working as directed end Moved                                                                     12.0                                              12.0                                                                    24.0
 31 June 2020                                                                                                                                                                                                                                 0.0
                                                                                          HOURS:                  566.0              0.0               0.0           47.5             0.5          16.0         0.0           0.0           632.0

                                                                                        AMOUNTS:           $4,378.333.31           $0.00          $0.00       5358.822.92       53,854.17   5123.333.28       50.00         50.00    $4,684,343.66




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Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 12 of 87

                                                                                                          2020-24965 Page 7 of 17




    VA LAR IS                                 /thank Maritime &mice LLC
         1r                                   5847 San Felipe Suae 3500                                              INVOICE
                                              Houston.TX 77057
                                              Phone: (281)809-0377




           TO: FIELDWOOD ENERGY LLC                                                    INVOICE NO: FW02007261
               2000 W.SAM HOUSTON PARKWAY SOUTH                                      INVOICE DATE:.  716/2020
               SUITE 1200                                                       CUSTOMER NUMBER: 1348
               HOUSTON,TX 77042                                                     PAYMENT TERM     45 DAYS

                                                                                             RIG: Resolute - DS-16
                ATTN: AP DEPARTMENT                                                 WELL NUMBER: MC-948#4
                                                                                       LOCATION: MC-948#4



          AFE: FW205014




                DAYWORK BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JULY
                PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
                AND SIGNED RIG TIMESHEET ATTACHED.

                FROM 00:00 HOURS ON 07/01/2020 THRU 24:00 HOURS ON 07/04/2020


                DAYRATE EFFECTIVE
                                                                                      DAYMTE
                                 0.0 HOURS OPERATING AT                                $185,000.00              $0.00
                                96.0 HOURS STANDBY AT                                  5181,300.00        $725,200.00
                                 0.0 HOURS REDRILL                                     $166,500.00              $0.00
                                 0.0 HOURS REPAIR SUBSEA RATE                          $185,000.00              $0.00
                                 0.0 HOURS REPAIR SURFACE RATE                         $185,000.00              $0.00
                                 0.0 HOURS ZERO RATE                                         50.00                •
                                 0.0 HOURS FORCE MAJEURE                               $166,500.00              $0.00
                                96.0 TOTAL HOURS


                Crew Shortage




                                                                                  AMOUNT DUE:        S     725,200.00




                                                             Digitally signed
                                                             by Ben

                                                            2020.07A
                                                            09341:4947500*




                     REMIT ACM PAYMENTS TO:                                        Coding:6U10079
                                                                                                -    10417- 110-4202-810101
       Beneficiary: Atlantic Maritime Service LLC
       Wells Fargo Bank, NA                                                             (725.200.00) 10417- 110-4202-810102
                                                                                                -    10417- 110-4202-810110
       San Franslsco, CA
                                                                                                -    10417- 110-4202-810103
       SWIFT Code:WFBIUS6S
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       ABA #121000248
       Account #4669481673
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                                                      Debtors' Exhibit No. 9
                                                         Page 12 of 87
                                                                 Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 13 of 87



                                                                                                                                                         Valarls DS-16 MONTHLY BILLING SUMMARY
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                                 Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 14 of 87




                                                                   R202 Billing worksheet_2020 - July 2020




FIELDWOOD
 Resolute                                                                WELL NAME I LOCATION:                   MC-94844
                                                                                                 AFE             FW205014



July 2020                                                                                                                                           REPAIR          REPAIRS   "

                                                                                    OPERATING          STANDBY REDRILL RATE       Zero rate         SURFACE        SUBSEA         MOVE      rORCE MAJEURE        TOTAL
    DATE         DESCRIPTION OF WORK                                                  $185.000         $181.300    $166,500                   SO       5185.000     $185000        $181.300       $166.500       HOURS

  1 July 2020    Standby as directed                                                                      24.0                                                                                                     24.0
  2 July 2020    Standby 83 directed                                                                      24.0                                                                                                     24.0
  3 July 2020    Standby as directed                                                                      24.0                                                                                                     24.0
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                                                             Debtors' Exhibit No. 9
                                                                Page 14 of 87
                                                                        Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 15 of 87




                                                                                                                                                      Valarls DS-16 MONTHLY BILLING SUMMARY
Mood.,6.4m MO                                                                                                                                                                                                                                                                                   Con Cooler.
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           Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 16 of 87

                                                                                                2020-24965 Page 11 of 17

                                                   Atlantic Maritime Service LLC
                                                   5847 San Felipe ,Suite 3500
                                                   Houston, TX 77057
                                                                                                                     INVOICE
                                                               Phone: (281)809-0377




             TO: FIELDWOOp ENERGY LLC                                                         INVOICE NO: FWD2007263
                 2000 W.SAM HOUSTON PARKWAY SOUTH                                          'INVOICE DATE: 07109/20
                 SUITE 1200                                                            CUSTOMER NUMBER: 1348
                 HOUSTON,TX 77042                                                          PAYMENT TERM 45 DAYS
           ATTN: ACCOUNTS PAYABLE                                                                    RIG: DS-16 Resolute

                                                                                             WELL NUMBER MC-948 #4




                          APE #: FW205014

                  TO INVOICE YOU FOR THIRD PARTY CATERING JULY 1-4, 2020 PER ATTACHED THE COMPANY
                  MEAL TICKETS




                                 MEALS @                         35 MEAL/COURTESY

                            . 27 COST/DAY/PERSON                140 COST/DAY/PERSON                                               3,780.01




                                                                                            AMOUNT DUE: $                        3,780.01



                                                                                      Rig Manager's Approval:




                 REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, NA
San Fransisco, CA
SWIFT Code: WFBIUS6S
ABA #121000248                                                                                 $   (3,780.00) 810620.10417.4202.110
Account #4669481673                                                                                      - 912812.10417.4202-110
                                                                                                         -    919220.10417.4202.110
                                                                                                         - 912814.10417.4202-110
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                                                           Debtors' Exhibit No. 9
                                                              Page 16 of 87
                                             Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 17 of 87




                                                                                                                                                      Rowan Resolute
                                                                                    . CUENT_THIRD PARTY ROOM-AND MEAL•CHARGE-OFF FOR: Jul 2020 Well Name Gunflint, AFE: FW205014 Routtng#580047
  Group              Data           1            2            3            4             6           8           7             8            9          10             11              12              13         14                 15            16             17 .. 18                                                                                                                                                   29 I 30                                                          31
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  NOV                                 ';'...,)  , ,t;;%.,          ,..1 , 3•ii                                                     -           ;,,..:d.-A.:                ,..-'.„_'• •:.fa;               1,-;!0,        ;(.._              ,• ,e 1,                  .t,...,,..--;.li         -,:f.1:04               , -i1.2(At                 ??..4a
  N SI.Fracturing                      V.t.kitt                   /Aii1".131,-•                                                                 tlIbtttg •               0&47:                             tflittf4                        OVA '                   . .-523R-":2.                *4-                         RONSit.                  i'ZI.:".%-:'            '.;.*IY:               qA5
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  OCEANEERING                    6 '.;3'f..'•;                     Iii-49,A                  .ti".i...,2*?:'.,                                                                                                                               -.441,1                    ::.1•':ftti              t,fi-sir);.e              t• ••11',',.:4
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  OES                                  it..W;`,.:                 f';'..LfiY.Cl               1•1444:.-• •           r•',,i't#2.                1:k7.7..'ia                     ,,,l'i“L'.                .:;!Ai!"                        7.....
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  One Subsea                            :..1, ..'.;,:l:1-;           g,4:..;f7s.              re;;:tq•               5e-gil                    ;:t4i/At
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  OF1(01I Field Instr.)             '  ,rie!•.,      ,•.•        ;:,!khilf.                   .3,....).;,.iizir,      4,,,...;„.4.i.:4         'ta-..`,'.•.--             .p-4. .-41.                     .-Y40;.-                         It.;');$21:s                    F •••                                       :     -,1,t1;. -.                                      1'47'•,-.,:f.          jit•tg:'•                   ; ;0. 1: . . .;.,.-,.?,1;:-.:. : :4: . . : . .E.: : :.
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  One Surface                           ••X',..7a.-1;             g*,-;:.%:!;                 zem:i4.                !.'.,,-i-..,.*N            ,azTAti.                  ..%&•--es.rik                                                   satiw.        %?-            :,$.!.fve              ;nom                         Z...4..;17T               7.41:tr*:
-OTC.                         'MINIIMEifflitNIIIIINFIe.                         '                                   .1-        :41      :        i'''1!.;                  N          4.,  "..   :,      :44,    ,  i.     1.1            '
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  PHI Helicopters                      .-'7i, -i.
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  Pinnacle                            .1.•:', •-•,:' '.i-_-..   ',  ,i'.2.i•i';A;;
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  Petrollnk                            ••?'. .14                                           ..'
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  Precision Rental
                              •       '., ,IW.`,::'              ,Zotti:.‘                                                ,;•t ,'             '".    ,,f.il                :. 1V,              ,          ,4;;4  :;1.7';V.
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  Premium                             •ti,,  :;€                  ':',;.%'-'::                'i.-5,, ,:cf,ti.-    -                            :-  :'•, 2.   ,lf,            '..'4:1•                   ,-....i,
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 -Protechnics '                                                 •L'per                        ';''.;.',.q:.z.,•     ' 41.41*.:.i"             , ..-,...uk.
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                                    '"" ,.             ""                                                             .i;.,:.-.;;.:-                  ..: --,              .•.•-.0.,-,?'•?               :TE0*                            ;,-i,*,p                      c.,.t t,.,.- ,
  Preserve                                                       l'st,Mer.                 ',   ..v,:'(*.                                                                           " -:`•*.                                                                                                             la
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  Professional Rental Tools               :.'• '                    X.•."7:1j•ZI:    .1      ,'Srtyf.                                                                                                                                                                                                                     f.4.';':. 5:;i                                                             Z..: t7',:
  PRT                                               -,.,           4,-,...-5:.,:::,!         .64.4.7f"              .1-i':-Z'.                  ....,..-,,,,;:.,                -•'2•"   ".              ..,... ,.i                        ....,:!:-.7v...;           1,,.k•-•".•14-,        : g"&ccfi."•    ..
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  Quality Energy                                                                                                                               .t.'.;;;,,..-.}..,                                        ''•. '•.' :                     ..4'       ,:t..
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  Rig Chem
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  Rig Net                             ...:, - 1 fo.ei....!.rr;4                                                                               ''•)-•::1'                   •..-:','•'...?::                •::,.'.4:-:,                   *yllIZ                      .....2....              :'?••    •3%.',F.'S        4.J- 7.1*,;:    ,          f'.1 , -'-';*:                •i•:.'.
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  RPS Group Inc.                         :•';•'..                 r,.:'...1.;'-;i;                                                              •                                                             i--1.-v??                  er‘r4.',.. ."               ::;•.i...1;-              .:,..,,7!-.-;:            -.:;:,-,,,,,. .          .-7'..W•i:                  :,...:';:.:.-:,..     ••,..•:,'•'.1.               .1•:•••• P.-
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  Schlumberger                             ••••.. .             `,...ir.;,-         ,...    ^t; - -.                  ••-••                                                   .....„ •        .••••        'Z'.,.r.-                        ...5.,;-t.:•:  ,                                  ..f.: . - .$                                                                                          •.2 - ,     --.
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 Scientific Drilling                                               (...;*•s?.:.                                        sr:.-;,,:::: :               - ..                     .. .,. l-4                  .•:ci•-••:.                                                 ' •_                                                                         ,...t.21 -.,...--                                 -•.;•.-•.4'.1                ..'...',...;:f:'
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  SCS                                   ". :1-::::,,    ,        1.....•-r.:±!,     :               „      •         .'i.z•-:"..:-      . .    '.i.,,..:':y               •      f'il.i'...                                               .t   :,...  -      •                                                         ,       '   (..  i..'"     .S.     .:
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  Subsea Partners LLC         ,t      : •                                                        .                    .'i. 2: Z4,               .' fik :                  .: -4;.                          -•.'.'21iK..,                     ...1.447,NA              IiV;f::                  '".. ...•
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  Subsea Solutions                    :::e,r,",t;'•              :,,.:-,cf.-..4:
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  Sunbelt                                -..--z:,.::              iepos,-:...              ...,-,- ..r._..,                        -.            '.                .       ;,...q:;,,f,.                           -....if.-......;           .hv...                    i.               .1     -'.-          -.:                     -:',-.:      %.-:           ;• • ,.
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  Superior                             ??.?'..;...c.,             F=A4c                                                i'.',1•1:11-'                                                                                                      *.t.t....,-).               ,7.1,   ....? • *
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  Superior Energy                      ;;•• •t..:"..':          J.,%-!=i7.4:'
                                                                      *                       l'AL-en                 ..... .!,4:-.               ;,..174-1  ,           ,. ,::.f4.1                      -.:*•!..'6.4                  _IN..:.-.,2,   -.             ;;;Iii.:•1:             i:....j:•Ii•-.:.                        -          ..:'.-1:•:.•,:4-.
  Superior Perf.                     :,,,'•.r.'ir                ,....zyck t.-•                     .'-....i.iE,               ..';•:•••.:        , .t:...7..   ':       "•ifiL.1                                                        :011.::'       '   ,      - ;•'::!..;,',Vt'.        .6;i2•:::-               _1(47:41                    i•-•,.:,:4,..2J                                    A,:!..k.:
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  Southern Fab                       •;:•' ;Ji.''.:-',              9.).- v.i..                                      -..yx.c.,       4        ,    r,t-,,...,-.--        , ..,ii...cr5:,_                .„:;,..t.,:p                                               2  . -4     . .              *.,.  '   '            7.•;#t.;',.                   " '•, y ,tt•                                                              f:       ....1 '     .. :..; :-.::::"
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  Teledyne                             '..%-, ,I.T`i              '..t-iii:.!...•$            A,.4                                                                                                                                                                    je,giti.•                   ..                      X •                                                                      '
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  Total SafetY.                        •;..i-s%                                                                                                                                                                                                                          ..
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  TS!                                  a-r•ii,-K       -,                                   ..;'-•xx                  .;/..., ..1,,f,           -4,.:;:rt_.•:,                                             .7-,.-K..,.
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                                         ,,-,. .•:-. . .          '37,  ..;i-A•;1';:F..    .:411.:11.,                 5:-•,•:,,..i.:31        .,.47.it'dt               '  .,
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  Tubular Solutions
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  Veris Global                         `ag,',4.-i                         311+',6                                                                                                                                                               V4t:                  '„?;.z.   /..
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  Woritstrings                               40                           144?),,Ift•                   4. . . -                    ,•:p.7,:i•A                   mkt -                        c•,,ivliii                    *r&-.4                   ....„ •,...4                     row:.                                      .„            ,-
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                                      ‘.411.57.1,    A.,...4..rk     ::::.rif        n-s.v...,...                                                                tSe.4 .:                     10.e.:::-5.
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  Weatherford                                   i,                 '               '1.c -..- `.;.- :'                                                                                                                                                       V' '  '
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                                                                     ,r,,r4.4,                                                                                                                 ..A....-‘,                    t
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  Wellbore                            'irvii,-4      1.1.01           --•''.1;••   !f,-/:-,t1'                                                                    ...li°34:.                                                                           ....-itet
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  Welltec                             Or.            r''44.,"r"
                                                                     ..;.f.V,44                                                                                  .
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  WFR                                 s'an.:05  ,    /qtritt       . _Ci-A:'       ...     ,..!5•,1
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                                                          Lease: MC-948#4
                                                          Project: Gunflint(STIM)                                                                                                            • 1:34.11.0An.)
                                                          Engineer: J. Perroux                                                                                                         7-2-222.0                                                                                                                       VVIVAL._
Company Man APPROVAL                                      Routing #:    580047                                                                                                                                                                                                   10/le.A3




                                                                                                                                                                                    Debtors' Exhibit No. 9
                                                                                                                                                                                       Page 17 of 87
                                Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 18 of 87




                                                                                                                                  Rowan Resolute
                                                                               CLIENT THIRD P RTY ROOM AND MEAL CHARGE-OFF FOR:JulY 2020 Well N
,Group             Date     1        2•              3         4               5         6    7 ' - 8'" - 9- . .'10"' 'Pi  '0. 13".• 14 - ••1'5:1e   .17 • 18 '19       20       21                                                                                                 22      23       24 , 25        28                                     27          28          29     30    31
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                                                                                                2020-24965 Page 14 of 17

       VA LA R IS
                                                   Atlantic Maritime Service LLC
                                                   5847San Fe5pe , Suite 3500
                            •                      Houston, TX 77057
                                                                                                                     INVOICE
             f                                                 Phone: (281)809-0377



             TO: FIELDWOOD ENERGY LLC                                                         INVOICE NO: FWD2007262
                 2000 W.SAM HOUSTON PARKWAY SOUTH                                           INVOICE DATE: 07/09/20
                 SUITE 1200                                                            CUSTOMER NUMBER: 1348
                 HOUSTON,TX 77042                                                          PAYMENT TERM 45 DAYS
           ATTN: ACCOUNTS PAYABLE                                                                    RIG: 05-16 Resolute

                                                                                             WELL NUMBER MC-948 #4




                          AFE #: FW205014

                  TO INVOICE YOU FOR THIRD PARTY CATERING JUNE 5-30,2020 PER ATTACHED THE COMPANY
                  MEAL TICKETS




                                 MEALS ©                         35 MEAL!COURTESY

                            1653 COST/DAY/PERSON                140 COST/DAY/PERSON                                             231,420.0(




                                                                                            AMOUNT DUE: $                      231,420.0(


                                                                                      Rig Manager's Approval:




                REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, NA.
San Fransisco, CA
SWIFT Code: WFBIUS6S
ABA #121000248                                                                                 $ (231,420.00) 810620.10417.4202.110
Account # 4669481673                                                                           $ (34,089.65) 912812.10417.4202-110
                                                                                               $ 34,089.65 919220.10417.4202.110
                                                                                                ($43,469.00) 912814.10417.4202-110
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                                                           Debtors' Exhibit No. 9
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                                                                      .. _CLIENT THIROPARTY ROOMAND MEAL CHARGE-OFF FOR: June 2020-Well Name: Gunflint, AFE:.FW205014 Rout:1,140580047
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                                                                       AFE:      F101,205014                                                                        SC-CT C.0 r:. a                                           1300-45                                                                                        .                                    TOTAL BILLABLE 5.                          $231,020.00
                                                                       Lease: MC-948#4
                                                                       Project: Gunflint(STIM)                                                                         • • • aui-ktyl>                                                    z -20o2_
                                                                       Engineer: J. Perroux
 Company Mon APPROVAL:                                                 Routing #:    580047




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                                                                                2020-24965 Page 17 of 17


1340 Poydras Street,4th Floor                                                 Land Records Division
New Orleans, Louisiana 70112                                                  Telephone(504)407-0005




                                 Chelsey Richard Napoleon
                                Clerk of Court and Ex-Officio Recorder
                                          Parish of Orleans


                       DOCUMENT RECORDATION INFORMATION


     Instrument Number: 2020-24965

     Recording Date: 7/16/2020 01:40:54 PM
     Document Type: LABOR/MATERIAL LIEN
     Addtl Titles Doc Types:

     Mortgage Instrument Number: 1334982




     Filed by: SHER GARNER
               909 POYDRAS ST 28TH FLOOR


               NEW ORLEANS,LA 70112




    • THIS PAGE IS RECORDED AS PART OF YOUR DOCUMENT AND
              SHOULD BE RETAINED WITH ANY COPIES.




                                             Steven oerner, Deputy Clerk
                                             A True and Correct Copy
                                             Chelsey Richard Napoleon, Clerk, Civil District Court




                                              Debtors' Exhibit No. 9
                                                 Page 22 of 87
          Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 23 of 87


                                  Plaquemines Parish Recording Page
                                                    Kim Turlich-Vaughan
                                                        Clerk of Court
                                                          PO Box 40
                                                   Belle Chasse, LA 70037
                                                      (504)934-6610

  Received From:
   SHER, GARNER, CAHILL, RICHTER, KLEIN
     & HILBERT, L.L.C.
   909 FOYDRAS ST., 28TH FLOOR
    NEW ORLEANS, LA 70112
 First MORTGAGOR
 FIELDWOOD ENERGY LLC


 First MORTGAGEE
 ATLANTIC MARITIME SERVICES LLC


  Index Type:      MORTGAGE                                                    File #:2020-00002805
  Type of Document: MATERIALMANS LIEN
                                                                               Book: 772                 Page: 616
  Recording Pages:                17

                                                  Recorded Information

I hereby certify that the attached document was filed for registry and recorded in the Clerk of Courts office for
Plaquemines Parish, Louisiana.
                                                                                      CLERK OF COURT
                                                                                  KIM TURUCH-VAUGHAN
                                                                                    Parish of Plaquemines
    On (Recorded Date): 07/16/2020                                    I certify that this is a true copy of the attached
                                                                          document that was filed for registry and
    At(Recorded Time) 10:47:54AM                                             Recorded 07/16/2020 at 10:47:54
                                                                            Recorded in Book 772 Pe.e 616
                                                                                 File Nun. '20

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                                                      Debtors' Exhibit No. 9
                                                         Page 23 of 87
  Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 24 of 87




                                                                   (Mississippi Canyon 948 #4)

                               STATEMENT OF PRIVILEGE

      BEFORE ME,the undersigned Notary Public, duly commissioned and qualified for the
County of Harris, State ofTexas, personally came and appeared:

        ATLANTIC MARITIME SERVICES LLC,a Delaware limited liability company
       ("Claimant")

       who states that it has a claim, lien and privilege pursuant to La. R.S. 9:4861 et seq., as
follows:

 1)     Name and Address of Claimant:

           Atlantic Maritime Services LLC
           5847 San Felipe, Suite 3300
           Houston, TX 77057

2)     Nature and amount ofthe obligation for which Claimant's privilege is claimed:

          Labor, materials, services and related supplies and expenses,in connection with
          offshore drilling services under a contract between Claimant and the Operator for the
          Well(as defined in Section 5 below)in the amount of$5,824,744.68, plus
          contractually owed interest at the rate of 10 percent per annum, and contractually
          owed attorneys' fees and expenses(collectively, the "Obligations"): The Obligations
          include, but are not limited to obligations owed to Claimant(a) as a contractor for the
          price ofits contract with Operator for operations with respect to the Well; and(b)as a
          seller for the price of movables sold to Operator that are incorporated in the Well or
          in a facility located on the well site; consumed in operations; and/or consumed at the
          site ofthe Well by a person performing labor or services on the site ofthe Well
          located in the waters ofthe State ofLouisiana. Invoices evidencing the Obligations-
          are attached hereto. The date ofthe last activity'giving rise to Claimant's privilege
          set forth in this Statement ofPrivilege is July 4,2020.

3)    Name and address ofthe person owing the amount for which Claimant's privilege is
      claimed:

          Fieldwood Energy LLC
          2000 W. Sam Houston Parkway South, Suite 1200
          Houston, TX 77042

4)    Name and address ofthe operator ofthe well as shown by the records ofthe Commission
      ofConservation:

                                                1




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            Not applicable as this well is located on the Outer Continental Shelf; however,the
            Operator ofthe Well is as follows:

            Fieldwood Energy LLC
            2000W. Sam Houston Parkway South, Suite 1200
            Houston, TX 77042

5)      Description ofthe Operating Interest Upon Which the Privilege is Claimed, or ofthe
        Well with Respect to Which the Operations Giving Rise to Claimant's Privilege were
        Performed:

            The privilege is claimed upon the operating interest of Fieldwood Energy LLC in
            Mississippi Canyon Block 948,Lease No.OCS-G-28030(the "Lease"), and Well#4
           (OCS-G-28030) drilled by Claimant on behalf of Fieldwood Energy LLC,during the
            time from June 4,2020,until July 4,2020(the'Well"),including the operating interest
            under which the operations giving rise to the Claimant's privilege are conducted
           together with the interest ofthe lessee and/or operator ofsuch interest in any (a) well,
           building, tank,leasehold pipeline, and other construction or facility on the well site;(b)
            movable on the well site that is used in operations, other than a movable that is only
           transiently on the well site for repair, testing, or other temporary use;(c)tract ofland,
           servitude, and lease described in La. R.S. 9:4861(12)(c) covering the well site of the
           operating interest; (d) drilling or other rig located at the well site of the operating
           interest ifthe rig is owned by the operator or by a contractor from whom the activities
           giving rise to the Claimant's privilege emanate;(e) the interest of the operator and
           participating lessee in hydrocarbons produced from the operating interest and the
           interest of a non-participating lessee in hydrocarbons produced from that part of his
           operating interest subject to the privilege; and (f) the proceeds received by, and the
           obligations owed to, a lessee from the disposition of hydrocarbons subject to the
           privilege.

        This Statement of Privilege is made by Claimant for the purpose of preserving its claim,
lien and privilege as a provider of materials, labor and services for and to the Operator and Well
described above, including, without limitation, all claims, liens and privileges under La. R.S.
9:4861 et seq., and all claims for interest due on the obligations, along with the cost ofpreparing
and filing this Statement of Privilege, and attorneys' fees and costs, to the fullest extent permitted
by applicable law.

           [remainder ofpage intentionally blank - signature follows on next page]




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                                           Debtors' Exhibit No. 9
                                              Page 25 of 87
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           Date: July j5 2020                           ATLANTIC MARITIME SERVICES LLC,
                                                        a Delaware limited liability company


                                                        By:        (2-
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                                                        Title: C)
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Sworn to and subscribed before me,Notary Public,
this 6'
      31\ day ofJuly 2020.
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My Commission Expires: 410



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                                                          Debtors' Exhibit No. 9
                                                             Page 26 of 87
Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 27 of 87




     VALARIS                                      Atlantic Mseitime Serece 1.1-C
                                                  5847 San Felipe ,Suite 3500                                                   INVOICE
                                                  Houston,TX 77057
                                                  Phone: (281)809-0377
               I

            TO: FIELDWOOD ENERGY LLC                                                         INVOICE NO:.       FW02007260
                2000 W.SAM HOUSTON PARKWAY SOUTH                                           INVOICE DATE:         7/1/2020
                SUITE 1200                                                            CUSTOMER NUMBER      1348
                HOUSTON,TX 77042                                                          PAYMENT TERM         45 DAYS
                                                                                                  RIG: Resolute 7 05-16
                 ATTN: AP DEPARTMENT                                                      WELL NUMBER MC-948114
                                                                                             LOCATION: MC-948 84




          AFE:   FW205014

                 DAYWORK BILUNG FOR ROWAN RESOLUTE FOR THE MONTH OF JUNE
                 PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
                 AND SIGNED RIG TIMESHEET ATTACHED.

                 FROM 16:00 HOURS ON     06/0412020 THRU 24:00 HOURS ON 06/30/2020

                 DAYRATE EFFECTIVE
                                                                                            DAYRATE
                               568.0 HOURS OPERATING AT                                      $185,000.00 $4,378,333.31
                                  0.0 HOURS STANDBY AT                                       5181,300.00         $0.00
                                  0.0 HOURS REDRILL                                          $166,500.00 "       $0.00
                                 16.0 HOURS REPAIR SUBSEA RATE                               $185,000.00   $123,333.28
                                  0.5 HOURS REPAIR SURFACE RATE                              $185,000.00     $3,854.17
                                 47-5 HOURS MOVE       RATE                                  $181,300.00 $ 358,822.92
                                  0.0 HOURS FORCE MAJEURE                                    $166,500.00               $0.00
                              632_0   TOTAL HOURS


                 Crew Shortage




                                                                                       AMOUNT DUE:          $    4,864,343.68




                   REMIT    ACH PAYMENTS TO:                                           Coding: BU10079
     Beneficiary: Atlantic Maritime Service LLC                                            (4,378.333.31) 10417- 1104202-810101
     Wells Fargo Bank, NA                                                                            - 10417-110-4202-810102
     San Franstsco, CA                                                                               - 10417-110-4202-810110
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                                                          Page 27 of 87
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                                                                                          R202 Billing worksheel_2020 - June 4-30. 2020




FIELDWOOD
 ReSolute                                                                                        WELL NAME LOCATION:                       MC•948 04
                                                                                                                          AFE              FW206014


June 2020                                                                                                                                                                    REPAIR           REPAIRS

                                                                                                            OPERATINO           STANDBY REDRILL RATE         MOVE RATE       SURFACE        SUBSEA        MOVE      .,ORCE MAJEURE        TOTAL
    DATE         DESCRIPTION OF WORK                                                                        • $185.000          $181,300    5165500             5181,300        8165.000     siasoca       5181,300     • swum            HOURS

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  2 Juno 2020
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  3 June 2020
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  4 June 2020    Moving as directed                                                                                                                                    8.0                                                                    8.0
  6 June 2020    Working as directed, Moved and Repeirod(CItenging oul Blue Max cable)                            10.0                                                2.0                         12.0                                       24.0
  8 June 2020    Working as directed and Repaired(Changing out Blue Max cable)                                    20.0                                                                             4.0                                       24.0
  7 June 2020    Working es directed                                                                              24.0                                                                                                                       24.0
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  9 June 2020    Working an directed, repaired end Moved                                                          18.6                                                7.0             0.5                                                    24.0
 10 Juno 2020    Working as directed                                                                              24.0                                                                                                                       24.0
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                                                                                         AMOUNTS:          $4378,333.31            50.00           80.00       5358.822.92      53,854.17   $123,333.28       50.00          80,00   54,884,343.68




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Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 30 of 87




    VALARIS                                       Anantic Maritime Service LLC
                                                  5847 San Fe Rea.Suite 3500                                             INVOICE
                                                  Houston, TX 77057
                                                  Phu= (281)809-0377

          ,111

           TO: FIELDWOOD ENERGY LLC                                                     INNOICE NO:  FW02007261
                2000 W.SAM HOUSTON PARKWAY SOUTH                                      INVOICE DATE:•   7/612020
                SUITE 1200                                                       CUSTOMER NUMBER: 1348
                HOUSTON.TX 77042                                                     PAYMENT TERM      45 DAYS

                                                                                              RIG: Resolute - 05-16
                ATTN: AP DEPARTMENT                                                  WELL NUMBER: MC-94844
                                                                                        LOCATION: MC-94844



          ATE: FW205014




                DAYWORK BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JULY
                PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
                AND SIGNED RIG TIMESHEET ATTACHED.

                FROM 00:00 HOURS ON 07101/2020 THRU 24:00 HOURS ON 07/0412020


                DAYRATE EFFECTIVE
                                                                                      DAYRATE
                                0.0 HOURS OPERATING AT                                 6185,000.00               $0.00
                               96.0 HOURS STANDBY AT                                   $181,300.00         $725,200.00
                                0.0 HOURS REDRU_L                                      $166,500.00               $0.00
                                0.0 HOURS REPAIR SUBSEA RATE                           5185,000.00 .             $0.00
                                0.0 HOURS REPAIR SURFACE RATE                          $185,000.00               $0.00
                                0.0 HOURS ZERO RATE                                          $0.00
                                0.0 HOURS FORCE MAJEURE                                6166,500.00              $0.00
                               96.0 TOTAL HOURS


               Crew Shortage




                                                                                   AMOUNT DUE:         $   725,200.00




                                                       Digitzify signed
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                   REMIT ACM PAYMENTS TO:                                         Coding: 5U10079
     Beneficiary: Atlantic Maritime Service LLC                                                  -    10417-110-4202-810101
     Wells Fargo Bank. N.A.                                                            (  725,200.00) 10417- 110-4202-810102
     San FransIsco, CA                                                                           -    10417- 110-4202-810110
     SWIFT Code:WF6IU56S                                                                         -    10417-110-4202-810103
     ABA #121000248                                                                                   10417- 110-4202-810104
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                                                        Debtors' Exhibit No. 9
                                                           Page 30 of 87
                                                                          Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 31 of 87


                                                                                                                                              Valarls DS-16 MONTHLY BILLING SUMMARY
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                                      Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 32 of 87



                                                                R202 Billing workshool_2020 - July 2020


FIELD WOOD
Resolute
                                                                    WELL NAME / LOCATION:                        MC-948/14
                                                                                             AFE                 FW205014


July 2020
                                                                                                                                                     REPAIR            REPAIRS

                                                                               OPERATING            STANDBY REDRILL RATE           Zeto rate         SURFACE          SUBSEA      MOVE      :ORCE MAJEURE      TOTAL
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                                                                       Debtors' Exhibit No. 9
                                                                          Page 32 of 87
                                                                            Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 33 of 87




                                                                                                                                      Valaris DS46 MONTHLY BILLING SUMMARY
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          VALARIS ,
                                                    Atlantic Maritime Service LLC
              1111


          qMill                                                                                                       INVOICE
                                                    5347 San Felipe, Suite 3500
                                                    Houston, TX 77057
                      11                                        Phone: (281) 809-0377




                TO: FIELDWOOP ENERGY LLC                                                         INVOICE NO: FWD2007263
                   2000 W.SAM HOUSTON PARKWAY SOUTH                                           'INVOICE DATE: 07/09/20
                   SUITE 1200                                                             CUSTOMER NUMBER: 1348
                   HOUSTON,TX 77042                                                           PAYMENT TERM 45 DAYS
             ATTN: ACCOUNTS PAYABLE                                                                     RIG: DS-16 Resolute

                                                                                               WELL NUMBER MC-948 #4




                           AFE #: FW205014

                   TO INVOICE YOU FOR THIRD PARTY CATERING JULY 1-4, 2020 PER ATTACHED THE COMPANY
                   MEAL TICKETS




                                  MEALS @                         35 MEAL / COURTESY

                             . 27 COST/DAY/PERSON                140 COST/DAY/PERSON                                                   3.780.t




                                                                                              AMOUNT DUE:        $                 3,780.1


                                                                                        Rig Managers Approval:




                 REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, NA
San Fransisco. CA
SWIFT Code: WFBIUSES
ABA #121000248                                                                                  $   (3.780.00) 810620.10417.4202.110
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                                                         Debtors' Exhibit No. 9
                                                            Page 34 of 87
                                                                      Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 35 of 87




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                                                                                                                                   .
                                                                    Lease: MC-48#4
                                                                    Project: Gunflint(ST1M)                                                                                8.8A.ctun)
Company Man APPROVAL:
                                                                    Engineer: J. Perroux
                                                                    Routing #:                              580047
                                                                                                                                                                            7-2.-SO24
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                            Debtors' Exhibit No. 9
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          11/ALARES
                                                    Atlantic Maritime Service LLC
                                                    5847 San Felipe .Suite 3500
                                                    Houston, TX 77057
                                                                                                                      INVOICE
                  !PP                                           Phone: (281)809-0377



               TO: FIELDWOOD ENERGY LLC                                                          INVOICE NO: FWD2007262
                   2000 W.SAM HOUSTON PARKWAY SOUTH                                           I NVOICE DATE: 07/09/20
                   SUITE 1200                                                            CUSTOMER NUMBER: 1348
                   HOUSTON, TX 77042                                                         PAYMENT TERM 45 DAYS
             ATTN: ACCOUNTS PAYABLE                                                                     RIG: DS-16 Resolute

                                                                                               WELL NUMBER MC-948 #4




                           AFE #: FW205014

                    TO INVOICE YOU FOR THIRD PARTY CATERING JUNE 5-30, 2020 PER ATTACHED THE COMPANY
                    MEAL TICKETS                                •




                                  MEALS @                        35 MEAL/COURTESY

                             1653 COST/DAY/PERSON               140 COST/DAY/PERSON                                               231,4201




                                                                                             AMOUNT DUE:         $               231,420.0


                                                                                       Rig Manager's Approval:




                 REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, N.A.
San Fransisco, CA
SWIFT Code: WFBIUS6S
ABA #121000248                                                                                  $ (231,420.00) 810620.10417.4202.110
Account #4669481673                                                                             $ (34,089.65) 912812.10417.4202-110
                                                                                                $ 34,089.65 919220.10417.4202.110
                                                                                                 ($43,469.00) 912814.10417.4202-110
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                                                         Debtors' Exhibit No. 9
                                                            Page 37 of 87
                                                  Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 38 of 87



                                                                                                                             Rowan Resolute
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                                         Lease: MC-948 #4
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                                         Engineer: J. Perroux
 ComPDnY Mar. APPROVAL:                  Routing #: 580047                                                                                                                         knoo2OZONAWSBAVATiail.
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                                                            Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 39 of 87




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                                                                                                                                                                                            Page 39 of 87
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                                     St. Bernard Parish Certified Copy
                                                        Randy S. Nunez
                                                         Clerk of Court
                                                 St. Bernard Parish Courthouse
                                                      Chalmette, LA 70044
                                                        (504)271-3434

  Received From:
   SHER GARNER
   909 POYDRAS STREET
   SUITE 2800
   NEW ORLEANS, LA 70112
  First MORTGAGOR
  FIELDWOOD ENERGY LIC


 First MORTGAGEE
 -ATLANTIC MARITIME SERVICES LLC
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  I ndex Type:      MORTGAGES                                                  File Number: 633342
  Type of Document: LIEN
                                                                               Book: 1945                 Page: 454
  Recording Pages:         17
         Description: STATEMENT OF PRIVILEGE

                                                  Recorded Information
I hereby certify that the attached document was filed for registry and recorded In the Clerk of Court's office for St,
Bernard Parish, Louisiana.

                                                                                      CLERK OF COURT
                                                                                      RANDY S. NUNEZ
    On (Recorded Date) : 07/16/2020                                                  Parish of St. Bernard
                                                                      I certify that this is a true copy of the attached
                                                                          document that was filed for registry and
    At(Recorded Time): 12:15 50PM                                             Recorded 07/18/2020 at 12:15:50
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 Doc ID -008075760017
                                                                                      /S/MANDY B.FLEETWOOD




              Return To:
               SHER GARNER
               909 POYDRAS STREET
               SUITE 2800
               NEW ORLEANS, LA 70112
                                     Do not Detach this Recording Page from Original Document




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                                                                    (Mississippi Canyon 948 #4)

                               STATEMENT OF PRIVILEGE

      BEFORE ME,the undersigned Notary Public, duly corrunissioned and qualified for the
County of Harris, State of Texas, personally came and appeared:

        ATLANTIC MARITIME SERVICES LLC,a Delaware limited liability company
       ("Claimant")

       who states that it has a claim, lien and privilege pursuant to La. R.S. 9:4861 et seq., as
follows:

 1)     Name and Address of Claimant:

          Atlantic Maritime Services LLC
          5847 San Felipe, Suite 3300
          Houston, TX 77057

2)     Nature and amount of the obligation for which Claimant's privilege is claimed:

          Labor, materials, services and related supplies and expenses,in connection with
          offshore drilling services under a contract between Claimant and the Operator for the
          Well (as defined in Section 5 below)in the amount of $5,824,744.68, plus
          contractually owed interest at the rate of 10 percent per annum, and contractually
          owed attorneys' fees and expenses (collectively, the "Obligations"). The Obligations
          include, but are not limited to obligations owed to Claimant(a) as a contractor for the
          price of its contract with Operator for operations with respect to the Well; and (b)as a
          seller for the price of movables sold to Operator that are incorporated in the Well or
          in a facility located on the well site; consumed in operations; and/or consumed at the
          site ofthe Well by a person performing labor or services on the site ofthe Well
          located in the waters of the State of Louisiana. Invoices evidencing the Obligations
          are attached hereto. The date ofthe last activity giving rise to Claimant's privilege
          set forth in this Statement of Privilege is July 4, 2020.

3)    Name and address ofthe person owing the amount for which Claimant's privilege is
      claimed:

          Fieldwood Energy LLC
          2000 W. Sam Houston Parkway South, Suite 1200
          Houston, TX 77042

4)    Name and address ofthe operator of the well as shown by the records ofthe Commission
      of Conservation:

                                                 1




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            Not applicable as this well is located on the Outer Continental Shelf; however, the
            Operator of the Well is as follows:

            Fieldwood Energy LLC
            2000 W. Sam Houston Parkway South, Suite 1200
            Houston, TX 77042

5)      Description ofthe Operating Interest Upon Which the Privilege is Claimed, or of the
        Well with Respect to Which the Operations Giving Rise to Claimant's Privilege were
        Performed:

            The privilege is claimed upon the operating interest of Fieldwood Energy LLC in
            Mississippi Canyon Block 948,Lease No. OCS-G-28030 (the "Lease"), and Well #4
           (OCS-G-28030) drilled by Claimant on behalf of Fieldwood Energy LLC during the
            time from June 4,2020,until July 4,2020(the "Well"),including the operating interest
            under which the operations giving rise to the Claimant's privilege are conducted
           together with the interest of the lessee and/or operator of such interest in any(a) well,
           building, tank,leasehold pipeline, and other construction or facility on the well site;(b)
            movable on the well site that is used in operations, other than a movable that is only
           transiently on the well site for repair, testing, or other temporary use;(c) tract of land,
           servitude, and lease described in La. R.S. 9:4861(12)(c) covering the well site of the
           operating interest; (d) drilling or other rig located at the well site of the operating
           interest if the rig is owned by the operator or by a contractor from whom the activities
           giving rise to the Claimant's privilege emanate;(e) the interest of the operator and
           participating lessee in hydrocarbons produced from the operating interest and the
           interest of a non-participating lessee in hydrocarbons produced from that part of his
           operating interest subject to the privilege; and (0 the proceeds received by, and the
           obligations owed to, a lessee from the disposition of hydrocarbons subject to the
           privilege.

        This Statement of Privilege is made by Claimant for the purpose of preserving its claim,
lien and privilege as a provider of materials, labor and services for and to the Operator and Well
described above, including, without limitation, all claims, liens and privileges under La. R.S.
9:4861 et seq., and all claims for interest due on the obligations, along with the cost of preparing
and filing this Statement of Privilege, and attorneys' fees and costs, to the fullest extent permitted
by applicable law.

           [remainder of page intentionally blank - signature follows on next page]




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           Date: July /5, 2020                     ATLANTIC MARITIME SERVICES LLC,
                                                   a Delaware limited liability company


                                                   By:                   M
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                                                   Title: I)

Sworn to and subscribed before me, Notary Public,
this 154>• day of July 2020.

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My Commission Expires: Lk q



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    '  ‘"         Z: Comm. Expires
                                    04-19-2023
                       N otary ID 11589836




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                                                     Debtors' Exhibit No. 9
                                                        Page 43 of 87
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     VALARIS                                   Atlantic Maritime Service LLC
                                               5847 San Felipe ,Suite 3500                                              INVOICE
                                               Houston, TX 77057
                                               Phone: (201)809-0377




            TO: FIELDWOOD ENERGY LLC                                                  INVOICE NO:. FWD2007260
                 2000 W.SAM HOUSTON PARKWAY SOUTH                                   INVOICE DATE:    7/1/2020
                 SUITE 1200                                                    CUSTOMER NUMBER: 1348
                 HOUSTON,TX 77042                                                  PAYMENT TERM      45 DAYS

                                                                                            RIG: Resolute - DS-16
                 ATTN: AP DEPARTMENT                                               WELL NUMBER: MC-948 #4
                                                                                      LOCATION: MC-948 #4



          AFE: FW205014



                DAYWORK BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JUNE
                PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
                AND SIGNED RIG TIM ESHEET ATTACHED.

                FROM 16:00 HOURS ON 06/04/2020 THRU 24:00 HOURS ON 06/30/2020


                DAYRATE EFFECTIVE
                                                                                     DAYRATE
                              568.0 HOURS OPERATING AT                                $185,000.00     $4,378,333.31
                                0.0 HOURS STANDBY AT                                  $181,300.00             $0.00
                                0.0 HOURS REDRILL                                     $166,500.00             Moo
                               16.0 HOURS REPAIR SUBSEA RATE                          $185,000.00       $123,333.28
                                0.5 HOURS REPAIR SURFACE RATE                         $185,000.00         $3,854.17
                               47.5 HOURS MOVE RATE                                   $181,300.00   $    358,822.92
                                0.0 HOURS FORCE MAJEURE                               $166,500.00             $0.00
                              632.0 TOTAL HOURS


                Craw Shortage




                                                                                AMOUNT DUE:         $    4,864,343.68




                   REMIT ACH PAYMENTS TO:                                       Coding: BU10079
     Beneficiary: Atlantic Maritime Service LLC                                     (4,378,333.31) 10417- 110-4202-810101
     Wells Fargo Bank, N.A.                                                                   -     10417- 110-4202-810102
     San Fransisco, CA                                                                        -     10417- 110-4202-810110
     SWIFT Code:WF8IUSES                                 Digitally signed             (127,187.45) 10417- 110-4202-810103
     ABA #121000248                                      by Ben                       (358,822.92)' 10417- 110-4202-810104
     Account #4669481673                        f*,/,&-, Date:
                                                         2020.07.02                                 ED
                                                         09:26:38 -0500'




                                                   Debtors' Exhibit No. 9
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                                          Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 45 of 87



                                                                                         R202 Billing worksheet_2020 - June 4-30. 2020



FIELDWOOD
 Resolute                                                                                       WELL NAME!LOCATION:                      MC-948 #4
                                                                                                                           AFE           FW205014



June 2020                                                                                                                                                                    REPAIR           REPAIRS

                                                                                                           OPERATING             STANDBY REDRILL RATE        MOVE RATE       SURFACE         SUBSEA        MOVE      =ORM MAJEURE          TOTAL
    DATE         DESCRIPTION OF WORK                                                                         6185,000            6181,300    5166.500           6181.300        S185.000      6185.000      $181,300      5166.500         HOURS

  1 June 2020                                                                                                                                                                                                                                 0.0
  2 June 2020                                                                                                                                                                                                                                 0.0
  3 June 2020                                                                                                                                                                                                                                 0.0
  4 June 2020    Moving as directed                                                                                                                                  8.0                                                                      8.0
  5 June 2020    Working as directed. Moved and Repaired(Cnanging out Blue Max cable)                             10.0                                               2.0 .                        12.0                                       24.0
  6 June 2020    Working as directed and Repalred(Changing out Blue Max cable)                                    20.0                                                                             4.0                                       24.0
  7 June 2020    Working as directed                                                                              24.0                                                                                                                       24.0
  8 June 2020    Working as directed and Moved                                                                    20.0                                                4.0                                                                    24.0
  9 June 2020    Working as directed, repaired and Moved                                                          16.5                                                7.0             0.5                                                    24.0
 10 June 2020    Working as directed                                                                              24.0                                                                                                                       24.0
 11 June 2020    Working as directed                                                                              24.0                                                                                                                       24.0
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 13 June 2020    Working as directed                                                                              24.0                                                                                                                       24.0
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 18 June 2020    Working as directed                                                                               24.0                                                                                                                       24.0
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 27 June 2020
                 Working as directed and Moved                                                                     13.0                                              11.0                                                                     24.0
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 29 June 2020    Working as directed
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  30 June 2020   Working as directed and Moved
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  31 June 2020
                                                                                         HOURS:                   568.0               0.0             0.0            47.5             0.5           16.0         0.0           0.0           632.0


                                                                                        AMOUNTS:           64,378,333.31             50.00           60.00     5358.822.92       53,654.17   $123,333.28        S0.00         50.00   54.864.343.68




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Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 47 of 87




     VA LA R IS                                   Atlantic Maritime Service LLC
                                                  5847 San Felipe Suite 3500                                            INVOICE
                                                  Houston. TX 77057
                                                  Phone: (281)809-0377
           !II!"


            TO: FIELDWOOD ENERGY LLC                                                     INVOICE NO:  FW02007261
                2000 W.SAM HOUSTON PARKWAY SOUTH                                       INVOICE DATE:•   7/6/2020
                SUITE 1200                                                        CUSTOMER NUMBER: 1348
                HOUSTON, TX 77042                                                     PAYMENT TERM     45 DAYS

                                                                                               RIG: Resolute - DS-16
                 ATTN: AP DEPARTMENT                                                  WELL NUMBER: MC-948114
                                                                                         LOCATION: MC-948/74



          AFE: FW205014



                DAYWORK BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JULY
                PER ARTICLE OF THE OFFSHORE DAYWORK DRILLING CONTRACT
                AND SIGNED RIG TIMESHEET ATTACHED.

                FROM 00:00 HOURS ON 07/01/2020 THRU 24:00 HOURS ON 07/04/2020


                DAYRATE EFFECTIVE
                                                                                       DAYRATE
                                 0.0 HOURS OPERATING AT                                 $185,000.00             $0.00
                                96.0 HOURS STANDBY AT                                   $181,300.00       $725,200.00
                                 0.0 HOURS REDRILL                                      $166,500.00             $0.00
                                 0.0 HOURS REPAIR SUBSEA RATE                           $185,000.00 .           $0.00
                                 0.0 HOURS REPAIR SURFACE RATE                          $185,000.00             $0.00
                                 0.0 HOURS ZERO RATE                                          $0.00 $
                                 0.0 HOURS FORCE MAJEURE                                $166,500.00             $0.00
                                96:0 TOTAL HOURS


                Crew Shortage ,




                                                                                   AMOUNT DUE:        $    725,200.00




                                                     Digitally signed
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                   REMIT ACH PAYMENTS TO:                                          Coding: BU10079
     Beneficiary: Atlantic Maritime Service LLC                                                  -    10417- 110-4202-810101
     Wells Fargo Bank, NA.                                                               (725,200.00) 10417- 110-4202-510102
     San FransIsco, CA                                                                           -    10417- 110-4202-610110
     SWIFT Code:WFBIUS6S                                                                         -    10417- 110-4202-810103
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                                                       Debtors' Exhibit No. 9
                                                          Page 47 of 87
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                                      Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 49 of 87



                                                                R202 Billing worksheet 2020 - July 2020


FIELDWOOD
 Resolute                                                          WELL NAME I LOCATION:                         MC-94844
                                                                                             AFE                 FW205014


July 2020
                                                                                                                                                    REPAIR            REPAIRS

                                                                               OPERATING            STANDBY REDRILL RATE          Zero rate         SURFACE          SUBSEA      MOVE      rORCE MAJEURE
    DATE                                                                                                                                                                                                       TOTAL
                DESCRIPTION OF WORK                                              5185.000           5181,300    $166,500                      SO       S185.000       $185.000    5181.300       5166.500      HOURS
  1 July 2020   Standby as directed                                                                      24.0
  2 July 2020   Standby as directed                                                                                                                                                                               24.0
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                                                                                     Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 50 of 87




                                                                                                                                                   Valarls OS-16 MONTHLY BILLING SUMMARY
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          VALARIS                                   Atlantic Maritime Service LLC
                                                    5847 San Felipe , Suite 3500
                                                    Houston, TX 77057
                                                                                                                      INVOICE
                                                                Phone: (281)809-0377




               TO: FIELDWOOC ENERGY LLC                                                         INVOICE NO: FWD2007263
                   2000 W.SAM HOUSTON PARKWAY SOUTH                                          'INVOICE DATE: 07/09/20
                   SUITE 1200                                                            CUSTOMER NUMBER: 1348
                   HOUSTON,TX 77042                                                          PAYMENT TERM 45 DAYS
             ATTN: ACCOUNTS PAYABLE                                                                    RIG: DS-16 Resolute

                                                                                               WELL NUMBER MC-948 #4




                           AFE #: FW205014

                    TO INVOICE YOU FOR THIRD PARTY CATERING JULY 1-4, 2020 PER ATTACHED THE COMPANY
                    MEAL TICKETS




                                  MEALS @                        35 MEAL/COURTESY

                             . 27 COST/DAY/PERSON               140 COST/DAY/PERSON                                                    3,780.




                                                                                             AMOUNT DUE:         $                 3,780.1


                                                                                       Rig Manager's Approval:




                REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, NA.
San Fransisco, CA
SWIFT Code: WFBIUS6S
ABA #121000248                                                                                  $   (3,780.00) 810620.10417.4202.110
Account # 4669481673                                                                                           912812.10417.4202-110
                                                                                                               919220.10417.4202.110
                                                                                                               912814.10417.4202-110
                                                                                                               919220.10417.4202.110

                                                                                                                 ED




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                                                                                                                                              Rowan Resolute
                                                                                  . CUEN.T.THIRD PARTY ROOMAND MEAL CHARGE-OFF FOR: Jutt2020 Well Name. Gunflint, AFE:
  Group
                                                                                                                                                                                                                                                                                                                                            FW205014 Routing#580047 - •
                  Date        1             2            3            4               5             6                   7 . 8                     9            10            11            12 13 14. 15 16 17 18 19 20 21
 NOV                                                                                                                                                                                                                                                                                                                           22               23           24             25         26                            27        28 29
                                        Y......,e-7F       '...n.   ,,•?;.t.4.            7;:=,•. '..•i',          .       ',k:: .,,.                       ...f..!...:.;,.•        7:1.05,               ••:...,F.:;:'              '•;;;;.!:i;:-'
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  30                31
                                                                                                                                                                                                                                                                  .;,.gi; O.              'Tiatt                      $17f;....,                      Y:::.••. 9.1.':                                                       .'.?. .,,.,:,.•
 NSE.Fracturing                                              ;:i414f1;' • ;!,'...45, . • ... -*6.;',                                      * • • • ?ii ,-                         '0'4 •:fi.,• • ••• 7.?..1,4:?,7, ,' :, • •'1.11log*.                  "       4INI".n. 2,.•              ! :,tft..:•?.'.' • -.•.• • V.,v.t,         ::-.q-ky.• • P: 7(                        , 45.,.*.Y,.
 OCEANEERING                 6                   ?:t.:._     'q':,.*:;(;;-,             ';'-Al.",              :::'.      %-.,̀•::3,.'S1,:.i                                      ..1.5.F.-                .'f•i:f..ig'•              .x..,,    ,i:,,i:%.                                  •:t..,
                                                                                                                                                                                                                                                                                                .-.:aii.
 OES                                     ::.'::•::'",:,      ''. ';-.F:                  '',3.•',.• !:...;                 :1,•::4);                  :.1.:  .'•,,:::             :','!' !.. 'gi.,.        ".'.:0!,-:'rz                ;::;."4'<%,      :      •:,i:',.q,,,';             (
                                                                                                                                                                                                                                                                                           ?,; 1.ii .                  n'.1::••                      :41';*!..)                ';."..'.:7:                               ,
                                                                                                                                                                                                                                                                                                                                                                                                                         ':•.t,):Q;;
 Oilstates                        '.z".'. .i',:::: . :.;.:Ai.,'                           i•- ,•,'4.).•                   ,4:-.•.:;k"4                !'-.5:' ,!                  ::?.,..V,V,:            •:',6•,•:.,                                                                                                  ,t...:-.7i,.1,,
                                                                                                                                                                                ,4,... .,...                                               1;•1•:,::1•7:        i ..:"•'.;.':,:.,.        '•:..!:1•-ii.,:.:                                           s•1,.',::,•.4%.;                                                    :'..':*,,v4
 One Subsea                                                  .,47,;'F.. ..              ,....4:
                                                                                            .,.:14,.s.r  .z,-...           :*.•'•.:f..;.::            ,-:-:•:1.,    ,•:o          ..;i;.'494i'             if;   ,,r 56.i.              -.'..c;1::?-f.',.'      f:•;;7e.ffe;:•;
                                                                                                                                                                                                                                                                              4--         :'..k.f.:L'1.1 ,            ','JZ•,';'3'.....•           ,',.:::;''...•..;            .:',.4.,.;.st.,                          -iiii ,i,
 OR (Oil Field Instr.)             c.':1:".::::.!,          ;-:±.1.2:;                  : ii,ili                           ,•• .,.-::                 •'::,!: .::.k                   .:„.::.1•.•::..      1.."Z,'il V                                                        n           :rN.5;-:i                    ..i17..••••.':;'.                         .::.,f
                                                                                                                                                                                                                                                                                                                                                     .%:Ii?., ,•:.              ,.. ,, ....                              i.. .,,:.:eq;,',:'              ......rf..;;•:y:
 OGEC                            :;.:ii-',..);q:            .4;;;;;','g:F.T.                's;.',.).',IS.                 •:?•;• :.'.;1,      1      . ,..."4•I4:1.              fi.S...i.ii:                                                                                                                        :.- (q'a.,•••••:-
                                                                                                                                                                                                          .:i.1.'4.                  .f-:":';'i,'...?,            :f'ii....i....T         *:.-I4X'F.;                                                                                                                     ";.',..1.?'...::::•            • -:..'.--'
 One Surface                                                                                                                            t             ::'‘1.1.',!;72'is           .1.
                                                                                                                                                                                   ,       .-.r.
                                                                                                                                                                                             , ...,,,i     ::t::'..-„,     •',
                                                                                                                                                                                                                             ....    '     P.i',;?.%           i>.:••POPP.                                            f,-;T:r.z.4:                                              :•:,.......,:
                                                                                                                                                                                                                                                                                             q...1;^.‘-';''-.                                          f(.:2.;.,•::,1,                                                                                    ,..i-',•••.:', i'
'rm.                                                          '.;'F,:•.q.::,-,.:          .4%.1;.i'ssi.,           .: • •            7,i,•,
                                                                                                                                          .i,       jel.tr8:1:                     'PLeg';:        ::      .';:!;ai                 -11...,',..  7 :?;          Of'?.: ;;i.               lig.. i..                       1:•;'.:::.'ii:.•            ..:'.;•?,;)•;;.:          ••....,•g.f.4......r.;                   ..1'.:;fi,i2
 Pharrnasafe                  1            1i.:4 1 ',.•i]..:4•7.:                         ••.4.41.!!'.'4.                 ,.:;.'1;1.'.ii...:                                                              .:...v.                                                                                                                                                                                                                                       "•1?..:',--.:'...'.
                                                                                                                                                       L.g.';‘F:i..,';'            ,
                                                                                                                                                                                   c•.; . .1..                            :::::,      '.'.;'' ,,.''A              ...'.:5::"'.t.r.if         ..;.:::'.. 6             ,:;:,.:',..:t.:1               ;.:',. ;;•.:•.                                                      •:,':'.1;!:::::.                  ,•..- ::..'!
 PHI Helicopters                  ,.n::.v                  '..:''..r.:i5;'                ?i. :      ;
                                                                                                     . . .2•.                !:.',,
                                                                                                                                  ,"?.., ,
                                                                                                                                         .:i           :11':.';:171:             , ..X'a                  ..!:.;•4':     ',          . "•'::...;::'.,Y.:^       4i:i/.kii,                'iX1'..,Wi.                 ' .'....t.c..:
 Pinnacle                                                                 gi:
                                                                                                                                                                                                                                                                                                                                                       173.:7:1:t:.             .; ..s.":,:iz                            .-4.:.`...;§, ,!               .*.,:... ,     . ',. 7
                                                                                         ri:',iK,,f•.,                    ,!.•.':-ii•i;E:::„           •::::    ".F4:.           :.;;'3!...4i;',          ..•.4,• ,•:                   P"    :  •.    i';•
                                                                                                                                                                                                                                                         ;-    ..1': ;,..;-•:'              iit?.::.;?.;i•.:•          St;f21,           -.1!:         '.7.;:i..Y11            '.1.11Cfi                                 '.W:',2:
 Petrolink                                                                                                                                                                                                                                                                                                                                                                                                                                              .':'',•.i:•f"'•!
                                 •''.i.'.•q..".:              c.':-":,:;*J,             ,;-,1,.':':::':i
                                                                                        '                                  .....'•.',.'ar,            4:2.,:•:::::                ;4.,',..,::             ;J:C7':',.'.                                          P•Fi::....'               '
                                                                                                                                                                                                                                                                                          ,.•:.',:;:f.4:?,              :;;;..:',":•:::.:             .... .:,V•i,               ,-...',:•,. f....:
 Precision Rental                                                                                                                                                                                                                                                                                                                                                                                                         f?(,:::-..il-
                                                             :.,;',".::::,,;-,              •.:1:-..44,            ..         ':,'.1g..:               :•,,...:i.5i:..2           ,I.,•'...i.L••,:.'      .:,,,i,.,-. . e.                   ;.it....71         ::::.f7.1'..              •rsi' :4)     4'F-'..''s     ..,iiii!.•isi,       .•:       ::, 7;:•...i...                                                                                    .i.,•::::,:;l:
                                                                                                                                                                                                                                                                                                                                                                                                                          1:i'i'i.'',., ;:•:
 Premium                          f;;Ai...,D,i.:.                                        ••.:iir,,4r.,:i',                 :;*•;.,.z:'..fY                                      '   ..iI1V!,     ...";                                 ..-" ;!,1;i:i            s.: .........,..s.Kr,
                                                                                                                                                                                                                                                                                   -                                  ..:•.%..f.:•:1:6                                           ,....,.!. ;.....:
                                                                                                                                                                                                                                                                                            .e:::::•.'•:.:                                           '1;•:•g,•f.'                                                      • - F:!::::.%    ..
 Protechnics                     :2: 1!:.1.1,',              Ar.(:W4'.                   ':. -.:..:1. -:                                              ....::::f:::;it:             :?:••••;.c.?;4'.       (•:-L* I ;      .             ;:,  .....try           ,, .•,,..                   i'.4.•... ,72              1.‘ZY!"4::•,,                  ;:t•••••UZ                4:;''•'.....,
 Proserve                          fi.;:.i."::.',i•:::       '‘i?;:iC'.':                  1,,.,;•„.i,::                       •C•ri,..11,::.         ,
                                                                                                                                                      :':', .-:        :  i        ....0!•;.?...',        .;:;V: .                      -:`:..a".               ii•••:1:" . .q.           :•x4.3'...V•                 ,;.•'... ....,:                     ..;i:i.:;:.+          ::.:,-....'....1Cl.'                     ''-'• .;;..,-:                  :..,-.i:-... ..':
 Professional Rental Tools        ';';'..,,.. .:             ,.k.i:!.:•,-,;:-.            f-i-.- r.V.:..%                    ::::...;,..%',..;::     .-..'.i.'.'i                '.-0.:1 5                •:5--    Sr2:.'..f...i                                                                                                                                                :•: :',.:....:
                                                                                                                                                                                                                                           447,416 •             .;1..'iJi..7..            ••.:a.',,•--1              , K'.,.,.?;                     ..1,,,%:,,.‘!..?,                                                  ,?.
 PRT                                                         .,41:,.: :;.,:..             ::';';;;;,.W.:.                 .'lfSa!                      ;+.':;it,    .                                       7:-?P:iiil                  t:/..i.i.iK            ' $e                       ":',,,s.7•;.'s::-:.•          ':.:*.7gA                                              ..:,::.:.,i.•;.:.                                                       ',,....•,,.•;'.;:'::.
 Quality Energy                    :.*••;:::..:::             '...7z;;-!....0..:!'..       ..,...-f.,;,,:                  .............               Ziff,:iii:Af-              'e,'Ai•.;;:Y            ''f,!:.71-•'i!s.          . :,';'•'.,     '.f .      '..5.:i;:%                                                                                                        •.;;;„•........
                                                                                                                                                                                                                                                                                            •••: ,6::';
                                                                                                                                                                                                                                                                                                   •'                 ..:?..',      ..i;','::        •iNti.f."::'.6!                                                                                    ,..,;.',;:f.',.'
 QES                                                           •i.iii.:;ifi::             :::::'.2'2.:R:                       '....':'•!S.:?.         g.ctig                                                                                                                                                                                                                                                               •-;,:z.;•::  : . „ : . .
                                     .,,, • •..-.1.                                                                                                                                                                                                                                                                                                        '::: :.                                                                                       • •:. .:::....:.
 Rig Chem                                                    •A: :..                              ..,•••••:...             ..,.,-;:ii                                               ... .-. .               Vs. .,!;:               • ;.,•:1•S!::!:,            '.. .                                                            .:0      ; .
                                                                                                                                                                                                                                                                                                        .1?.?:.       rn..,                            i-:..':.:,c..            •.;•:,'.: :::
 RigNet                           ,..:•:-. :,.,..;.', 1 :C,'-if.re;;•<                    :•' :'•'f...;                                               ..:::..i, -1. ':                                      i'f.:•*'.     '   ;.!       .I.O:c.,                :.i;,45.:::                   .', .:'          ,,      :;;,;i'.. .i7:.,•            • ..                         0 • •:'.'.2..                           ... !,......
 RPS Group Inc.                      ri•':',.;S-;           ...e.-..:•-::1:75F                  . ,.F.
                                                                                              i.f:                         ::.c..''':..:•:'..          :.':...,i.•':::,..}       .,2fi.n.,"::::           ::.f),,?.•.f                  ,V.f....'A' •           !:.::i.t",:!..",                                       :,..,..'..•:i•••• .•             r.;.•?;',-!•'.          ,.::.:::.::i.....:                        si,.....:,::,-.:i•
 Schlumberger                    .:••••.:L:7;'                                                                             ...4..:;;;•••.•              ;::?. •''..!.              •••'.,....• ,           n.i.,.."Al.5                    ::;r1:.:,•:_:.                                  7.:,.r.:;•.,                           .:7               '.0"•.'                                                                                               :.•'.: I.?,•
 Scientific Drilling              .,..12,-..,       .      6      '   .i?.:..i
                                                                     ..                  ''':.il.',.'::*::'                      '.'/.: J;.                                          ‘ .'.'•                          .-                                                                   ,-.,,    ..::::..i                                          ;Q::;:..,•::....                                                                                  ..., ,
-SCS                                                                                           ......;.;:.•.•.:••-                                                                   ...:..:;r:'           :.•7:;;:;•.'::             .02;'         ,.',.       ‘..;;F,..':5,...                                        ..,,..,. .: ?. .:-. .          1.'?.?..f,A.                                                        P;... ,:;'..
 Subsea Partners LLC                                         •.: ..*:.•::..:.           '
                                                                                        ...;.1.:.1.:                        •• . ::•:                     ...',i,•,:?.:                                          - a                                              :.•..1.;:,......          ......•:,..,
                                                                                                                                                                                                                                        ,;11.,:::!ti..;                                      . ... k •• •              .iis'.•%:':, :k                ...i...iii• :,
 Subsea Solutions                   :•.;','.viii,'           '..:••••;•:',, ,                                                •:..,*;.:-...s                                        •:, !.:. . .•:..                    ,   ,,,.,        '...s,t2:.:
                                                                                          ;:';',.•:...".5                                             :••::''.:fL !',.:;.                                  ,.•.;i..,.......,                                    :.•...4;.;:st.              :•,,..?..:•?..-               ..'.::
                                                                                                                                                                                                                                                                                                                             .75 .:-
 Sunbelt                           .-,,,.                    : ..1!. .'..*-:               .4:-',i.7::•:.                                              ':::/..t,;,                ":-.;.  .r.F.:::i..
                                                                                                                                                                                                    : .     .:',.;''..•::::,,              ..*:'?..iV.•                     :...rs        ••• :f    • 2.             .j..'....-*•.,..                   ....-••:.Vi'g                                                                                        •••- • "
 Superior                                                                                 41...i,i,                       .,:Z.?.,.,        .!,.:   ' ...i'A:?:.                                                                                                                                                                                                                                                                                             ..
 Superior Energy                                             :,;,:.;,:iz          .                                                                                                .'
                                                                                                                                                                                   .:
                                                                                                                                                                                   : 1!::   :. 1:
                                                                                                                                                                                               :::
                                                                                                                                                                                                 ';',.!                                                         ...(;;;.:•:::•:::.                                                                     .      . ..
                                  '.,5•••:.-..'.".                                         .1.4.•:                          ..'..:•-•;,,..;...         ::;•.:,:: :                                        ';fr•.!,..:-:ii:.  .          Zi.:ti.'.Z.'..                                    El?...",:. >                 . •.'..... .                    ,.... ..',...:.                                                                                   ...:q..i.>;;;:::
 Superior Perf.                    -.!,....:•';f.:-           ';:....F.,9?.?,:.,          ••--A;.:!.;7!:: -                   .:', ..:•i;..;,::        ';'.!?.,!.',V:                                       '1,4,f,,f7.:                .:: ::'                   a;i4:;.:                   :,.,, ,..,,•
 Southern Fab                      •::'.4:::: .               •::,!.,V.:....              ::.!:.:::".'4.:: .                  Ve;,.'.::                :::•';.*.4..q...                                                  i'AL         :5,:g•-: :                4r,:•:,•:.'1,,             '•17:4;111:.                        f,i-54::t.:               i. :"..,,!..4t.
                                                                                                                                                                                                                                                                                           ..,        . ,...;•                                                                   .'         :.. '.'.:
                                                                                                                                                                                                                                                                                                                                                                                                    ':.. '.•..t••. -
 Teledyne                         ,'',:i....i.;•'.            -,. ...,..,..               •;i!ii'.".1i                               ...4;;•2                     .1214           .1,,,..;9;i:
                                                                                                                                                                                             -            ...,::••••••:•:'.'         . a                         .ii4.:•:.k.              '   ,..,...k,i,                .,...?(*.,...:is.k7           ..-...i•li.                                  '                                                     ::•,,i.'. ;..........
                                                                                                                                                                                                                                                                                                                                                                               .4•+   ,             ,
 TEMS                              ',.'....:•: ::::                                                                               ,f3 :'•                `,             ..':       ;-.e.?1'...f,.                                                               ‘!. ...r.                  l .-1.:P:;                                       :f
 Tetra                             .i •-;•:
                                   1,-:-.    ,.,‘:•:.,       -.:g..7...,.....-1.,.                   , .,                     .4.:.:..:.:;.,                                       ..f-;A:::-.                ':. . . . ::..;;.:.   . ).‘ :15'....;            ,• ..71:,.';.;•, _                 `'. . .;;',iJ,       :j.:•%.4,s,''.'.
                                                                                                                                                                                  '..7..,.,,::;:-.!:                                                                                                                                                    ..:,,                                                                                                   .•... •
 TIW                                .:•..Y.,T,.-.•          ,••;i.:-,•,. .                  ,.• :•:,•0:
                                                                                                     • 3.                     .2'. .'z'.i.,                 .'.c.:,i. :• ,                                        ;,,..... :.•            :.,.-7.;:-. ,•s.      .1, ••,,...!..cr-•:        .,-pi.'s. ,.:, 0'..!;..i.:•;•;                    -      ,       ,-„,...
                                                                                                                                                                                                                                                                                                                                                                -,,....:
                                                                                                                                                                                                                                                                                                                                                                     -           ..• ,.• •..
                                                                                                                                                                                                                                                                                                                                                                                 v.,-          •                          „1!..::•.....,
 Total Safety.                   : :,.1:;-:',...r.:.         .f..:;:1,...`.:              •:•;:feK.:,.                      :..,*;:...,...•••ij•     '    ,...e..!<                  '.(i'.'.•;;;;:.                                         ....x..,   ;•,
                                                                                                                                                                                                                                                          ,      .;1:''..i......7.         -;.;.i.....•:.:                ;'?..f...i.:::!:               ,̀.
                                                                                                                                                                                                                                                                                                                                                           .:
                                                                                                                                                                                                                                                                                                                                                            .. .t:.'1..-       ;  ::   •.
                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                        :
                                                                                                                                                                                                                                                                                                                                                                                        •, ...':,
                                                                                                                                                                                                                                                                                                                                                                                                1•i1.:....                             :.•-.'
                                                                                                                                                                                                                                                                                                                                                                                                                             ...,,                                     .
 Tristate                           i.i;5,.,:::!:;',         ';',....:IN'..'            ,.,;,1,',5•:".-1i.--                :1 .:•:...:.;•?.          , .i. ....41,i!:.            f:i••:' ,:fii;            i...;•i.•I'i.               ''.•i:i...i?!.•,.:.
                                                                                                                                                                                                                                                                     is                   'al:         .4g                                           "..::,"•;,-;C::  ..:.                                                 • .., ..     .          .      z.:,,     .... .
                                                                                                                                                                                                                                                                                    i.,   ,i                                                                                                                                                                '   .- —•        .
 TS!                                PiL.:,:i. •              :;... :.,'4M               ,i.....      ‘.;.,...:i
                                                                                             ...--:.,.          ....          •;"•••,:. .              .;";?.-F.c:                 '.:,•.'ilV.?,             i:-;.:.i.:;!,z                ,'.i':.%.A•:          , • •ai• /                 ,-./ ,,....•..• ..         ':::ik •'',''                    ';!•:•. .•;i:
                                                                                                                                                                                                                                                                                                                                                                   '  .. ..    '''..'e:i.          f.•:         ,
                                                                                                                                                                                                                                                                                                                                                                                                                                                          .  •,...,-..,..iis.
                                                                                                                                                                                                                                                                                                                                                                                                                                                               ._.....
 Tubular Solutions                   . ...::':f..
                                               ,     ;.•    , ,..,  ..::t'W                • ---
                                                                                         :?...%41.7.            !,             i:::1•,i'.1             !..eiT:i                   ; .."..i',    .'-,̀        *.z.,..g,JE1 Ai              E:fifier              'f.';'Z•ii,".v.. .           •i:::).. .i...,.\.                :'....';;?if,
                                                                                                                                                                                                                                                                                                                               .                       ,,i,...3,4,1,
                                                                                                                                                            • -                    ..,,,,..„..                                                                                                                                                                                                                                                               .:
                                                                                                                                                                                                                                                                                                                                                                                                                                                             ..5.
                                                                                                                                                                                                                                                                                                                                                                                                                                                                ,::-.....„,..
 Veris Global                    'eat:                         V.'i.'Si                   ';•',Z.I.';'L! . • ••:'.a--.:::                              .,.,..s..!1.                          ..', ••..        ....,:..
                                                                                                                                                                                                                 ,. ,                      .... .••:-..:.-                                                               tii, ..1"..'4'.:;          ,;:;:lig.,                   ..;;L.: if
                                                                                                                                         xlis:                 ,...,                                                                                                                                     ...,                                                                                                                 .., .••
 Workstrings                        :f..s.:1,--!i":         et-Ay,-                                                                                     .1`.z:?;:::.                                        . .;:'.',                    '.'11Q.'S...                                        ')::-;!•`i                                                 ••:-Ng-iz.                :'.i.:,N.',                   .          :„...;,-,..:                      )::.": :.!ff::,
                                                                                                                                                                                                                           ,
 Weatherford                       •;/:::,:,::.; •           ./1,..:.,i4                         ,......".i. .7,
                                                                                        .•::,.....f,...:,,      .:.„.         •••LeiV,     .            tf..4!.,.k                                          ..:•,-:[Ci...-::                   .:1;i-:::'.       :"..i4!:•:e•?'             1:::..;f.::::              .1,."e.”,
                                                                                                                                                                                                                                                                                                                     -t.':::::::                        '  ', ,
                                                                                                                                                                                                                                                                                                                                                              .(:•.,,:f          .;;;c:..`%1                               .:-...1.•,::
 Wellbore                       '  .93:'.::;•E'S:                               —                                                          .i...        4te.71.;                   ;•••••••,,,''''         ''.:0;1::...                    a.,::.1....,.         f.:ir•4•:'„                4'w..,,g•                   i•i,5-‘   ,    .....i..                                  ?„1.':•:S;                                                                                     .:.
                                                                                                                                                                                                                                                                                                                                                                                                                                                         .....i.••. •:-.‘-•:.',.:
 Welltec                           i'.,  , t‘..;,,   ,           .-":•.,...":.!t          . . .'-                           .  .i
                                                                                                                                „'•,!.'?. .%:'.        ;:: .1..:                       ,.;•:l.!;               •••;:_"•:;, ...         ;;I'g.  '      ,.
                                                                                                                                                                                                                                                       ,         i,•',:,• ;- ,,,?         ,'.3.5r."..:,." :             4.;.'i3..' :::l                 i.'4,-,.ft.                                                                                     ,.,  . v.,:',].:'••:.
                                                                                                                            .:•,,,,..4::                                                                                                , ,..,,.„..                                                                                                                                                                                                               ,• ....
 WFR                              (,,. f,                    :..1';T:.::::.!            : .,.1.:::::,           :                                       Vr-Ti':                    7,',,.'Tr:   :  :.;      11.•7/....,:.r.'          ;a"C•er...•:'               qC.:'. :5..               •','.:'..,•••.!                                            :K:•-••%:t"                V';P*.
                             18 9                        4            4               0             0                   0            0 ' 0. .0 ' 0                                          0           0            0            0              0           0           0              0           0              0              0             0 '0                        0            0                           0            0                  0             0                 0
  TOTAL                                                                                                                                                                                                                                                                                                                                                                                                                    TOTAL:                                                    35
                                                                                                                                                                                                                                    .
                             16 I 7                      2            2
  TOTAL OvER CONTRACT                                                                                                                                                                                                                                                                                                                                                                                                     TOTAL:                                                     27
                                                      AFE:                           FW205014                                                                            Acc.-r CO2. 3025 -.11-5                                                                                                           .                                                         •                     TOTAL BILLABLE $                                                      $3,780.00
                                                   Lease: MC-948#4
                                                   Project: Gunflint(STIM)
                                                   Engineer J. Perroux                                                                                                           7-2-202.0
  Company Man APPROVAL                             Routing #:                                    580047                                                                                                    aloarbOesidoo0 NOPAC419;mk



                                                                                                                                                                                                             Debtors' Exhibit No. 9
                                                                                                                                                                                                                Page 52 of 87
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                                                                                                                                                    •Rowan Resolute
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Group          Date     ' .1 • ' 2.                           2' 4                          '5 ' ' " '"•;•• '                 '8          . ,... .-. 3— ":      ,-1. '' • fi'• v•i2- •-13-'-' •-' i4::'':'-i5 *: 1C: "-17‘. - it .. .•.1-9'. ''id': .ii .-''.' 23'
ABB LTD                                                                                                                                                                                                                                                                                                                                                                             . '24 . 25 '29 '27 25                                                                          29        39 31
                                .:-.,-,--.,..1                                                   ,;XI..".i.-`0               ' ..".'i;':,    . .:i          Ifil.,::                '5,1;:t-.,"'.",.                :.:,":"..',.,-,.                  ;,•trA.••••ik                                  7.Z
                                ::,.-L.:-.-.-:.:-4                                                          •---, •                 .,,:t't,F.::                                       •-?...,,,-,:.:                                                  ::.,:.•---,..
                                                                                                                                                                                                                                                                                                                       ::::'•:,..':.%:,i' • .t...,"-2-.%;IC.'i                                   4 . .•:`:- .                't"::     •,.:.:
                                                                                                                                                                                                                                                                                                                                                                                                                                   .....,..           •- ';Z7,1;".'                      ;.',
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                            •0.                          Started Guncl
ABS
                                       -...,..                    .'...iW.
                                                                         . .r                      r:::,.. ...ii....'-f:     .1,.,..t:.r.',",             ‘r...1.,4..         ..‘,     .:...    ie.,. i- ,         :.‘',Ei.kl!.,                       raA:.54..                       ''it:.W."  -                 ?nv,ev.:                      .0ZiT                            '      . . . .:.fr..gi                      .  A.e..                                   ,;:
                                                                                                                               %..r.:5.1::i                                                                            r••0•:-.;,..:                                                                                                                                                                                                                                                                                        1600 on 6
Arnpol                                                                                                                                                      fi...$.Z.i .
                               ' i.;.1 ,-,1.,                      l'if.,   ....,?....33.4         ccI ',..:                                                                           ait...::&                   4,1.Fii`.;                        .fifot'!,,
                                                                                                                                                                                                                                                          -:......d9.....;,'            i,>'7.$:.                                                   AtN
                                                                                                                                                                                                                                                                                                                                                                                     •,.i..,,:••••?
                                                                                                                                                                                                                                                                                                                                                                                     i.q..P.-,.:,
                                                                                                                                                                                                                                                                                                                                                                                                                    ;„'•,;•,
                                                                                                                                                                                                                                                                                                                                                                                                                    ,!•-::".. ..r..,•.e....            ,:,:';',-. .z.A•i                 •••!.....c.-i•-••?,
Airgas                          ':dg:-44iT                            .;.:i','. ':,' 1:-         !      •,.............         ?:-•'1•Ii`....';',                       2..    .      143'..r. '7.:.              'i'izflt.:Ct                         .1..,.3i2Z4                   :.̀,1:'4:- ..             . .:...lif.   :W.                                                    ‘i.";.'4,A                      5'.-.4.14".•                   . .".?%,-'-'4;:s•                    '..e...47e.:!:              •
Aker                            V.M.:'..,..                    .:.- ;',W.                        •'ig;:      . .5.,          '    .j7•11X5'4.,            '44q4                       ..ro.e.-. ,.;                   MS                              •:Ii.4.51-1                      ';)"..',4'.0  :              ,..f.',   ...iittf; - 4....1.;',4.4                              i3t-iltr...                    iii.iiV,;
Aqua Tech                     - '.....1:$;..43                    •fiel.f.el?.                    ...i'.,;Pil.‘;               :it!.:tai.', .               :.''oii'f.:  !4           te.-V,                        ,r-•.:.' '!'31.                      Witti                         f:,:i..,',tz:P             ',1' '...71..M                                           ',          Wit•P                        ''4'.4::.;.4.'                       Ps.l.i...V.;.:..
Adwmatea i-loauction            '!.., ...:,..1.T.,                 .::?:;•,.f- .-.. :               •ti.1 ,-'                 ,..5.fer01                    3.'0Y .                   ii' ,1,                      "17,, ,•'4;               .        ..$5-Z#2;....,'.                  glI.T;'••                   •••!.AV,:'?..              • ...tri:4:1.-                          gsl.14           -            : :s. ,‘'. •.'. ,;.4t             ".-','.(M..!,         .;          6!,..71-::::
Archer                                                                      -ii..f;:.:                      . .'
                                                                                                 ... . . .T.-                 i.liji..•&'%;                  "?:9!..ii'4:             '.';Vii.....                  :±8.6.                           ..igr:;•./: -.                    • '•.:.';'.f...              4E...1  -:   ::.;":;::      . i.Y.,..‘;;• :V                       • • •'. 3 -..:t....4.;       Y•g?:q..;•:                       ;1-',...c:,i.;-!...'•              :3;''..izS:3'
Baileys                               :-(::FT-:•:6               fY§."--;':..             ,       ':,ti.. ,'';:7;                7::„.i,.,,:a.            ',, ::;;;:f.f:•!:.         !• :4Z4410.                      16:"..i-.'Si                    :•=4s,.                           iS-tiktr.                    i;:;,,cF.:;:r.c,`,             ...,z,',i,4;.??,".                ',..V....ti,.:
Baker Hughes                                                                                                                                                                                                                                                                                                                                                                                                                   'fr.;..:                ` :.;V:                           ‘,. '1• :!....:•,71 :
                                      y...f.:;1`,....i4           ii.iK,‘;',,,:,•                ..',32'.f.:?1,      . ':      ,-;;',$:VP. ,                 ifAiti.:e                .•.:. Fige:                   ,-.1. .:,  :v..                    .fil.'Ait.l.                    ..Ittif.-:::.;                                   ..          .:'•4'••• .".:1t.                  kf-t4.1F1.t.                                                                  '-4t                 . ..i ;
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                ii4....c;:-:
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Bedrock Petroleum                                                                                                                                                                                                                                                                                                                                                                                                     .i*.zif:.'.- ::
                                      il;,'•;71:•:K              .t,,:-' ,               .        f;')kiiq".:                  ,-,...z.-i.;....41. '          ..ii.P-i.14.1.%        4,-̀';,.: .1:.'                .....3".- i",'3!                   ii10157. . ';.41a....;;tf                                    1: :              :•:      .   ; A'.t         .    Sie             4..:......:,.0               i',    ;  ..'::i    .. ". •       .{.;'.;;i:P:                      .........i.-....,. i.
BHGE                                                              •••.%.•:::.izi?;i1                                           ,....••.,3:1.,      .1•            i'.14!g".i."!:         .,i.i(.   . . ..            z4.1•:.::r5,                       .:`.'' f.-- .                ' '.!...:.                     ••' .i"g.',.                   Ji' .'&';",.                     .r....a•V.                         ..•i:"••. 'e•...               . i.'•;:A:'.`.s.i                 ,..it"..'.   ,,..,:::;1. •
Blackhawk                              •; .-". .1..;             ':•:: 'S:c.1"::                  .',:;.(.:',:;:.              ':...•;•i!'.'. :             ',..i! P.                '''..1cf.k,'S                   t• ii..;%';'.i                    :•.!;".%:'                     ;
                                                                                                                                                                                                                                                                                      :...;5•'. ..i,               :,:;.-; ',1;',.1';          ' -;!.1'Pgi...:.tii,./-                t:.1..'s'i...;                   .'-'.;:':;;;;',
BSEE                                                               '.5.'...:. ;                                                                                    ;:.::,, ..'2.,   ':'!::.:;::.:47                 ';:itrit;                                                           P-:;%.7).
                                                                                                                                                                                                                                                       ';::::'N'e,                                                   .i.'f'?...                          l';-... :i..,     :           t."..if.T.:';;•:'.           .,,....- !:...t"'                        ...•••;  ,-, . . i.".       ..,;. •;,...'..?!..
Bugware                                '..-7c:',F•t:•-.              ,'.:ii. 'i. f-'...t':        '..'?•;I' -fii:.;"-;       ,!;•-,,i.:-:•'ii,;•            ;:7;:'!•:',.,';            ..:i'.'4i''.:-                              .•_•:',.'.I.i.               V:.-.1%;',.t :                                       9-',•      ,.;•-,     '
                                                                  )..i...1,-:,                                                                                                                                                                                                          '-',;•4'.-!.::c:•!:'                                           '-.'-"It'. 15;-                      i`tt.'. .".1             ?,...-,,i. ..7-.:                "..-.:.';..*:                      :..k.',•!-;:
Burner Fire Control                   ',"....43-3;.:                                              ,IY.zZt:4;                    ...:?•;-..15.f4              ''.?;f:,:ri,          ' ..:2:.". .:,                      71i'.'•:A                       `11.:‘;'.A.fil                                                                               rps,      ,...i.-:    .;.:
                                                                                                                                                                                                                                                                                       ..;:•;':i.t..'.:             ':;1•!-.':: .                                                         i....T.:.':;4','..".     .:',..:(-,.,4. .                    .:.i..:.'s•'...'                  ?...i,;',f4.,
Cajun Cutters                         '.. 7;.'.-'.. ••??-         ;...;.c.,,:;"!;.:               V!    ,:;• -•                3.:,.....;,.:..,q;,          :":::...s5g?;              .;lic:?..j.li                ..!•'..f.ift                                     'f':f.ri,.       .'.Z".!iii.i..:.               ..i•';',..C.!..'.C.         '• 47:.F....;'.';'.4                ...,..1.',. ,: ... .              S•'.i,:','.i:  ..;'.".          ?.. t.'..!•!>                     ......zi:...
                                                                                                                                                                                                                                                                                                                                                                                                                                                                                                   ..,'..
Cameron                                         .?:; .:'.         ;:'2"::?,....,:`.
                                                                            .,                      ..,i'..'f.ii:;'..::::-      :.:•.k.:. .,. . .-;          1-::'11;:j;i:             ;.'1,,fi'A                     .-...,-,.....%.                  ......i.,.4                                                                                                                    -Zic"..:.'iTi*.                                                                                                  .
                                                                                                                                                                                                                                                                                                         1       '.. ,        .. ;. .t'.'             . . :-1..,:      r.                                            .::?...;'4:.:4                         -
Cetco                                                                                                                                                        .igfiii               '`.!.zi::A!,'.1.                   ‘..!=-1:f.,..;                     . :,;:•:i...7N, . b?....4`41;c":.                        ,•:.'.,-;,...•'i                  ..;:,11.,::                       •`4:;'t..,, . .               ;:::: ',.?;                      ,        ?-t.:;(,'
ChampionX                            !j1..r.i',P,".1f.            *4;..}!.$:;."...                •;:•:-.:.:,;)...•          .....f1.4:::..f.-Iii‘           ..'g:,', ;    i-.-t      24    - ,2:iks.-;;.,             A.     :X'                        `.i.,  . :.:fT-:,ii. . . . . . .:.f.                       •!... ..- '5:::                 '..ti.•.%.:;i."7i.                 i..'-4-`..0.':                f.,:',..;,:,        ..i:          "...1..0:.r,;.•                  •A'.:-,•• :•:-. . ....
Chouest                               '...:.',.:;: ,1'            ';',::';z:-:;',V..:-          '•:.....t;::::  "            .    .i..;i3'.:  ,ig               :%.'1`.:,...'.,,   ,        ...7).,e.r.",             .1.1LP.esf.4.                     ....?..siiYi.                   i''.'.::-1i' l                 . . •."•,
                                                                                                                                                                                                                                                                                                                               ,:,...2'..•         -2..41,1V::            ,       • falds_4;                       .:::.;.::".;.-.e                    ,•;•;:.....:.:;:.                e!. . . /3..,,i::'
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Clairant                               .•: . ...:.:.?.1-,.         wes:P.,,,...,:::               1:3.11.CA                    ,::;'.;i3q!                i;IVf'A                            ..$.   -1r.fi,          1:1';514.:                           ..'.',,foi!,i•p^..:?;        ,;.T.."."•.•?-i'.              '  :.--;?..,i:
                                                                                                                                                                                                                                                                                                                                   ,.:'.., .        ;f-'. .l'. -. -::..i:             ,.;, ,,.           •'Fd
                                                                                                 ... -4',,.                                                                                                                                                                                                                                                                                                           ;`-::.i...,,T.;:•:                 ......:',N..:•.ii.             i::!•,j..kr.       -
Cavins                               ;,,:,:..ki.r:                 F.: ,•,:t .•,:.                                               '::•,?4,    . i              :;.',.;.;f i'.           g:;.W.                         ,.,.. k'.!                     '41iirtei                        .7,. ..1.-                 J-..,••••.P..,                     .ii
                                                                                                                                                                                                                                                                                                                                                    -. ,'•. .                              gvi i,..                                                                                     ,.:::::;,•••••3:.;
                                                                                                                                 -47         -  -,1'                                                                                                                                                                                                                                                                 . .•,;: . i •i•••.,:•..
CoreLab                              - ,.f'•.ir',.t.i
                                     :                           ."-••ZIC,        X.i:    .       :',...'t-?i.,  •,•;.:        1..,::.;:-..k                :::7-"triF,         .    'TS..':"..x ,                  :t    .  ;.i;Zi.:                   '.!...1i.'.c,Y,:               .a :.C.:-:,..i7C                                                 .7.:•:I.:.,:v.

Danos                                ..'.1.;?.::.f.f'/':        :.:::-J.:.'z?.                                                   .:';'•;.. .';' .          ..-7;."i'''.!:'.. .";   ,i'{s...'.•...`,.:                .--...';'!.t:':"...:                                             -;-:-.1:'.i.n.                   ;?!j. . . '. .4,             . ...:•i i.. * ••                 '....:;:::;:".>'::';•                    '                       .j.:;,t.... i..                   :::,.;:':•'.:?..
Deep Sea DS                           :'..'117,. ...            i;':!.?),IS.,.-                   •., '. 7.:f.                     -.•.'-s,,':                -. .'-',C3'.4f•:-.    ,....:  ,,o.,;-,,,:i.            ',....5. ;',1,.                      .:::::‘,4. ;:-.V             ,:-!1',:i..:;                    :::;-,,r:;;:',.•           -r,;,,..;!::i..                  :.'.:-.•:.§.:;417'                                                 ....,,-.                          ..7,,  :;;;.-:
                                     ...       .... ...                                                                                                                                                                                                                                                                                                                                                              . . ...
OGO                                                                                               ,<...!0.. .'.                :..i; :,          ....f,             :1 :•-24         ;,1,..,;.'...,..;;             '';:i!.'.!:.,..                  '4i.Y. •.;if:                    .%•:N-.;:                    ...,: ;4.,.,.....               ..,..,. ,••,•,•.'t                  ?."?2•:!.. .r.
Diversified                    ':.i,,
                                    -.- -.,
                                          .. :.                   .7:-.'34..i,                    rs.t: e.t:.s"..:..            .e....:;:....:.-,              '...t'•:)..•.i.              i........:::,                     ;;; ,;;i                 .1'.•!,,I ,         :,           1.7.7..-,,,:q,                                                i.,.,'.—            .
                                                                                                                                                                                                                                                                                                                '           ,,;":::.e..                         .:.i'''''''           ,...::?.... T. .:                    '...,:,. .....•             .1?,!,.•,:ii",'                  .,12.;;;,f.
Dril-Quip                      1; ::,     j,.                     •1•: ,5.                       `44::.'..Y.I.                 ''.;•.'..';:i4!               :.-.5*•-,.•'i                        ";:-4. 4                                             '1.)1'.4i4 •                     0.'..e.'67';':               ,.,..q.::•,...,                ..-.!•?4,7..i,                     s..;•j.1.4':'„4.                 ..-.„ ...;•.,...
Dynamic Industries           7 ?*;..'21                                                 -         .••••.IL-...:''...,.          ;...::::!,':;`,               =.1•::21'i.4. ',          fi.Z,!.'••=...i•              ..5,...7.                          A"'z‘..,...
                                                                                                                                                                                                                                                                  .":''...,.'"f        :14 '.'.4..•,:i.             'cii`.-.PA'..                   i•;."E•31',:"...;                    ."
                                                                                                                                                                                                                                                                                                                                                                                         1,.=..,:•...iii;
                                                                                                                                                                                                                                                                                                                                                                                                  '''. "'                 ...'..i.:;i:•'...             :.:''..4:s.                      '..7„c:2'.•;;;:,
Ecosery                                                                                           :.:',. ,,•:;',..             ',...*:••:g.f.                .;.--::"!:!iii'          '..'....it''•;:'i.              'f-..1;',. :.fi                     if, ..';11 •                 ',VA'.4                     . ......f,;),-'.. . .             -,_:•.;.,,     :;...i               ••••.'':.,..".::?.:..         ';:. ..."......:::',            ;'.F;.';11,           ;            .... i,;'t.";:..
Elite Comms                   ".1;.':.;?,,,4•.                   :4;:•;:.1.•!:;          -              ...:i
                                                                                                           :  51                .  .•,':'7:1:?..   :-        ••;.-,Ui.                 ::-.. ..,.,                                                               •.ri..:LC
                                                                                                                                                                                                                                                                         ..‘;       . . ,.....P.,                                                                                        .  .  . .     ,.,,...
                                                                                                                                                                                                                               .?)..,      fA
                                                                                                                                                                                                                                                                                                     .:.           ..i. i. ..                       .4Z.f..?.'..".                       t4h....-.tr                           4.‘V'i..:
EPS                           6'. .:'. -                         ..'• '.',;. . ':',..:i          ..-..:g.i..;,ti,.               .;::;::?:•:'...;            ...,-4,44               .f.i).Wir                      ,-.I.4'‘• t- -‘'i                  •';le.'t                      ':,.i::1;,.:4±,-.              ''     ''..".i:       ::        ::."1.4.':;!..`"i"?..              'it:7,        .1:',..1:..•      '-.1,,::::.'!?.1::.                                              ',1-•--;;',1;',
                                                                                                                                                                                                                                                                                                                                                                                                                                                        :,..';;',..;;.•,."'
EVO                           ,1S."'.• :."-•:•:                   ,t„,•:,..-,.....i:              '-? ,       •.4               l'."• ,gP•                    •-.;'. .i;'.: -...     . :.;•1".i..T.IZ •             ,    1*-24?1.,                                  ....* .               .saiil.',    .,.i'
                                                                                                                                                                                                                                                                                                         ..                                                                                         .'.2",'.,.      .4.. ..:::',,'.".7..
                                                                                                                                                                                                                                                                                                                                     ..,.                                              '.'•';:                                                  ,:                                        ."..j:;: .
Expro                         :'.....44:::•-i'                     1:.;.?r,:-.'4"::                .t...... ..                     ,. .f;':                     ... .7.,..1.t.           t..1*',                    ,
                                                                                                                                                                                                                    ,
                                                                                                                                                                                                                    ..,      -,
                                                                                                                                                                                                                              -...;i4-f        ,         :;  ,.   :ti,:0                . . 1      .                 ..:,-;',i.4'.,                  ;7-7       ..r.tf  ,:t.'           skOffir.                       ,'...1...
                                                                                                                                                                                                                                                                                                                                                                                                                              ,        :-.:,
                                                                                                                                                                                                                               .....,                                                                                  ',..i.:-F!.i.c...:i .
FDF Pipe Washing              .;i-.4:6-Y                          '..;:i•-i..liA'                                              :•:-).2:t.•::                  •:.,1.;;;'..fi:,.:i       i5,'.,  .t.
                                                                                                                                                                                                 ,    511,,,       :;•g•ii•dii                         :.!!;1111.r.                 . !Ii3;..'i                                                     i)..-....ii•:1!,          ...           ...?...'',.. .            :4":Ali:t:.e                       tf;'.........,..iA              .'!:...-,5....•;•:;
Fieldwood               I 3 . :i.,.,  .: 3 ?..                2 .;•;•:2-ri'                       .',.:,:i".:i.ff:      ,      4-,....t..1'il;1!              s;x:2....c*.41           .-:,.:4i......                  ''.4'W:                            $:!r.g..( ..                  VVE41                       .,..i •.•:;;.!:.::     :,       .iik ki.f:.•;5                       i2;iig.                      ..,,1: 1.::                   . 1.....:.?;41.:
FMC                 '             •-i1::i.'.F.j                . '• •L'..,,,,..;44                 .. .ii•R'..:
                                                                                                   4                            giU -!'.                     . ". .:f6'6'            .'        ..il.;,-.74          .,...'''f-l!'s                      .. .241                       . .1.-:.k;                  .;-,!c:L.:1$i.                    .'/'f-,Qc1.                        '.?aci!'.;                        ,t'i.;..t. ...                 .ii..N...::;',         ...
FRANKS I NTL                   ..:i.:::5(1.1:1.                    c;:''..,:.:<.:si:?.-            1,4„.4;*.i                          :.;:.'. .              P `:;‘.-';'             -4r•P         ..g..:. .          -.`.',..'„i.':.4!:!..         '     :1.                 •                  ?...,
                                                                                                                                                                                                                                                                                                      ‘,4             .,,-..,,,,•                   *.::,',1.•:ii::.                     It:.!Pi",. ,          .:.      :-::•;.;.t.-.1:1?;
Fugro •                       '?. . .!'.: :F.'. :                 L'i;.t..g.:: -                      1:.:f...,'..:.•           ;*F..r.74.i: • .1,'..',' :.;.i;                     '  .. . .'.'4,c'                ..4..-'.;                         4-0,N                                .!•-,,- :;',i              .'.:A3'!
                                                                                                                                                                                                                                                                                                                         !                           .-:1.. :.!...0 •               '.4-1-1Q                           -.V=.;'....'.?                   .';•:. . .1.;:',i
                                                                                                                                                                                                                                                                                                                                                                                                                                                                  ;: '''-T:,..;:..        ...,,  ........fiF
GA1A                    I                ••'..i.:':',                   ,r4c'!.:;.s.               :;,:.,..-:.,..;               i..:4,.:...;::::             .i.?;‘...,F;.,             ::.X.-..;' ,!i                4if.'..t:.                       ,'.i.;f4'.::i. :               7.-1Z-..V.'                     iil.....,.                          ',:'.4-11.4    -.           'i;:','da                             -                                                            '.t:„..','•'''.;,.:
GE Oil & Gas                                                                     :;-A              '.:••••:••'.A.,):           K,.-.:i...?...'.11.             if   4;a•••,i.i: .      '...4i.4        -ii.:.          i:h. ,"7•.'.t:.                   't irt                          ,Q1:t.".."-::•••ft          '-fK•;;•.i':".                      elv..F.....                     !f-Z'.i.':;;j;:                 i.:;,-4:;.X.                     ',....l'i•i!.;':-.i            '.•.'.:'!-;••?/:::
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GS!                                    '4.f.'i3:::;;;;...            ;':;i':.•!;:;:.                 f•;.1l:I',...':            'li,";:-ri."-C:1"....         "A!i-4W                'e...4ii':                        :•':*14'li                                                          ;E,•'"A'i                 :-.F.,   :f.-.1.i.               ;:-/Ali?..                         '.$',̀::',..-'ffff         ..,,.......,,....1                      m•:',.,,     .... .           71.1';:'..5  . .1;
Gulistream                             i2.1;t.,:::-"..1             if;:',. 1M.;                    3. .          t" .  ?.       glil'..-tj                    -;.":;:',
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HALLIBURTON /Sperry                    '.7..<•25:'43                 !.,; ,'                       I. .:                               ,',. . -{:Fi            ..';•`?:,  :ii.i'r     ::,        i ..ii,              .
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HyroCarbon .                                                                                                                                                                                                                                           , ••,.,—, .                      :.....Ipt,         .,
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Master Flo                      i'i'.,';-,it                      . . . . ',; .,• -ir,           il.i.. .';                  .;.'-i',. -;                  .Tve.,',7.:.                             ...'
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MISTRAS Group                1 4      ,  ,i,Z.,:                                                  :?::: ,.'.:.                ::::,. .;:*,,,'              *-----               '                                   i./....1-:         ,    ,,
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Newpark                                           -                                               ". ;!;.,?:;:-.             ,                              -•• -                    .                   .         '..'-'..:t;',',''-'•:                 t'7•.,-•••:::5••:i         _ --''.i.E.'..'''',7            '-',•;:-.-.:•t:.•-•• _         !: .•"?'"•:-J:                      ke:.!:1-'.!:                                                      ':•-•.::.?"--                  ...:...ki,


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                                                    Atlantic Maritime Service LLC
                                                    5847 San Felipe , Suite 3500
                                                    Houston, TX 77057
                                                                                                                      INVOICE
                                                                Phone: (281)809-0377




                TO: FIELDWOOD ENERGY LLC                                                        INVOICE NO: FWD2007262
                    2000 W.SAM HOUSTON PARKWAY SOUTH                                          INVOICE DATE: 07/09/20
                    SUITE 1200                                                           CUSTOMER NUMBER: 1348
                    HOUSTON, TX 77042                                                        PAYMENT TERM 45 DAYS
              ATTN: ACCOUNTS PAYABLE                                                                   RIG: DS-16 Resolute

                                                                                               WELL NUMBER MC-948 #4




                            AFE #: FW205014

                    TO INVOICE YOU FOR THIRD PARTY CATERING JUNE 5-30, 2020 PER ATTACHED THE COMPANY
                    MEAL TICKETS




                                  MEALS @                        35 MEAL/COURTESY

                             1653 COST/DAY/PERSON               140 COST/DAY/PERSON                                               231,420.1




                                                                                             AMOUNT DUE:         $               231,420.(


                                                                                       Rig Manager's Approval:




                 REMIT ACH PAYMENTS TO:
Beneficiary: Atlantic Maritime Service LLC
Wells Fargo Bank, N.A.
San Fransisco, CA
SWIFT Code: WFBIUS6S
ABA #121000248                                                                                  $ (231,420.00) 810620.10417.4202.110
Account # 4669481673                                                                            $ (34,089.65) 912812.10417.4202-110
                                                                                                $ 34,089.65 919220.10417.4202.110
                                                                                                 ($43,469.00) 912814.10417.4202-110
                                                                                                   $43,469.00 919220.10417.4202.110

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                                                        Debtors' Exhibit No. 9
                                                           Page 54 of 87
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NS1 Fracturing, •                   i'..,..V. ii:.,'... .... kP..i.ifkik' .% ...:. ti,iii.'.1*. ' ...• .1•114I...                                                    :t!..re:'"::•.•-•'.'. kil*INg ,.".• IZMO ... '                                            .. ...tr4g •.:                        v ;WA!.... •• • M2••                                                    . ....4
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OCEANEERING                       ;',..'.i.',     '..::
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OES                             . .r. ....',       :;•          j.;.:"1-'        , 2 5 1,1C.5;*, 5 '•-.•.sf:57; 5 42;':•7: 7 •,..:*ait.: 3 17,                                                                                           ..3r'f.; 3 413.''',•,. 3 l'is.Vil 1 ''',q;11!... 1 ':'&11.:.q 3 t.r.3' 1': 3 IM •'•!•.- 1 .:4::iiii:
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CFI (Oil Field Instr.)           ..?!:.:;•:::::',...;1.            ;.f.'-'5''''',.                                          ,                                          '..i.5.'.4r..:'..                 . .irtr:?•.'.. . •*;..:C.i:-".                              r.,.;.;,:si.                  . •:: rii.,.',.:1;!.             •••,:',••,;i:i'z: . :-.:.;;',:i7e...                                       '4:.illti,-, • .f.',                               ;,,•„.,•,ty:                       ,.:•:,..,-1..,..i'...i. • ......si:E•:,,                :..
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PHI Helicopters                   ''', !•?..,1....:;             ' ,'..1..??..t::                                   —               . ' •,.                           ' -,.. , ?•19,f,                   3g.ri.i.'1              .•'?•.:1•.:Y.:r.fi,                 'AiW=...                         • ilciati.                    '..:5',E.:i                                :1:1:•';:;.:,•• •               ...'‘t....•,';',i . -                                                                                                    ff,....r.....,.1'..
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Petrolink                          ;;.',':';.'J.i.                 :.:11;;;•iii?                    ;',.-ir'.",.. ..i;                 . -. t;i'..'4'.:',               •.'••.•`gs.:'..'":.'             i.k...W                 ...'ii;if...',V.;                   . 4•.;;Ii%                           '..."...74:tti.            ...... .'.7-..i."?                         ';•;ii,:-•••••• ff..           •4:...f....li                       -           g?.•            ;  ;;7,:“  . .,         •.:?:;:::;• ...                  ..2:.:•.K.,../4
Precision Rental                 ...';.:!.:'.•..;.f               ':::;*le.;•:•;':                           ..f..,i-.•.                                                .;ifs-    -iii.:••••':            tiu'ie: 2 '..i.:,               .Z.: 2 :::?...22-A . 2 .LifiN .;,i:                                                      :-.:.•l;:. -:•1::                            :''..'...2'..5: 2 ...",:i..2.;4:: 2 ....•1".4.1::                                                                       •,,,,..,•'. :,•:. .1. .
Premium                                                           .si,;;.Y:';1.      1;:r•          ,   . 1  .i,    t.'"'••••. i:     'I'2•5.•271X                       '. -. :,tft. 5.:'!:', .        .. 4.4...•
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Protechnics                      ,....'4 •':.                      '..^. .. ..:.                    I;`,.;,•,,I.i.•!•                   C:.'......'..s':                   .-.1,r'..i.r.:::•••:           ';;,'i'fiV,k•           .:',:?.-2,..0:.                     ,
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Professional Rental Tools                                           .....1 ..-';:...                 '. •:. •:..;.=.f.:       ,                                         .%.•: '                           •••'',' '   ..''':1     ,•:5.::.?i:!.i..4                    .•i.??,••••;..!:,                      .::'::...,;g,-.         .7.!...,.;:::g.,                          . . -'1•.:...;•••12.             •;:,...k:••• •k                                 ,...........,•:•                      . . :.•,. . . . . . .             .:.;.C. ,    .. :.•••
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Quality Energy                                                      • .:. .` ..                      ::fi..?Xi:                            f.... '...1..',           '    ,.. .:;..'4..1 -                     '..';...;-, ;       .:.:. . . .;. r . . .L i                                                              ii..:'         2..i•A!::,                               . ..... .... .-.                 '. . .;: ,?'                                  :14,:Z::                                j:1'.. ''';4...                  :.:.!;.•.?::'.
QES                                 •.:',   1:1..'             - 7....!.41; •                              r:• '.• .:....!',::'          :.,..%:,'.4.7,,,                  W.:-'..i','. 1 !.:73:.1".T::                    : 1 :.•.):0; 1 A0.1t: 1 ,ti•Mik: 1 ..;%:-St:... 1 ...1.1!.7.-. 1 '                                                                                                                   ...:'..qt!'Ejl. 1 '.:.--•'•••..'".,                                                     ;:r:...T.::::                     ...: '
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Rig Net                                                              ;'... .t'F-111,-               ....V,-,Y:e:.:                      ',/';',:*1.4.:                   Ii4 ki:Y,                       ! ,'•                             ,3tfit                        V4'..i....;;;: .                 :*!..::,.ilit                 :k.';',P7';.,              .i.           "?'-‘,":;;                         :' '.:.' '':,i                               ..:401:•:::                           ...5..::::::,':.                         .",•,.1', ,,..,
RPS Group Inc.                      '         '..
                                               '                     l',-..*:.::.•:.-•:::             ti'..r1.1-',f.:*:.                 ..1.I.'. •'1,'                  ...:tp.Y:...                      J•'.4.A`•::':!'         '.c=1..11i.'..                      ..i..g,'.7...                    .....4:3`7...41 .               %.;:;;;I:.':. •                            ki-Jif:F....                   0:::,?,;..Z,,                 .                ;
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Schlumberger                         ;,*f .'....                   :).'•:i0 15 i.15; 15 '.;.15,..: 15 e.:116;,. • 17 '-f.tS117.4., 17 Nit 17 '.r!fl:117: 16 ..ii?;f41.:;. 14 .1i15.:ti 15 e...17.:-;:. 17 l.-'7                                                                                                                                                                                                       ',i17'..:;:. 17 00;i! 10 ';'.*...i. i,..                                                                            ;.:".:.:.;:•.:
Scientific Drilling                   •:.':',..: '.              '  ..':..!.i'.':;i41.               'r•tfy?,?i                           ''''':...•••••••....            ;•..;:vj....;4.,     ,,          .:;f47.'01:i              ,1....4i:.4f                      '!i;'.'17Vif•                          V,T6;.:,         1,      ......1'j:t.;?::    ..                     "•!:.': .5                      ...t-4 !           ..V                          c•.'S. .fe'.,1                        ''• ••••                          .:•••'it.;:fi
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                            1                                                                   62 62 62 63 '63 73 '81 . 78. 83 '87 87 86 83 66 64 66 67 76 69 69 67 49 '41
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 TOTAL OVER CONTRACT
                                                                                             AFE:      FW205014                                                                                                      : A cc-rs no ID 6: 1S00 -* 14:5                                                                                                                                                                          -                                               TOTAL BILLABLE $                                                   $231,420.00

                                                                                             Lease: MC-948#4
                                                                                             Project: Gunflint(STIM)
                                                                                                                                                                                                                                            .13ALiitsu 1-z -.2-00z_
                                                                                             Engineer: J. Perroux
 c.pany Man APPROVAL:                                                                        Routing #: 580047                                                                                                                                                                                 OVA _APPROVAL
                                                                                                                                                                                                                                                                  Valaa2C121DeatOplJane Zigin 3ta Party BIM
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                                                                    (Mississippi Canyon 948 #4)

                               STATEMENT OF PRIVILEGE

      BEFORE NM,theundersigted Notary Public, duly ConiniisSioried and qualified for the
County ofHarris, State of Texas, personally came and appeared:

        ATLANTIC MARITIME SERVICES LLC,a Delaware limited liability company
       ("Claimant")

       who states that it has a claim, lien and privilege puituant to L. R.S. 9:4861 et seq., as
follows:

 1)     Name and Address of Claimant:

          Atlantic Maritime Services LLC
          5847 Sap Felipe, Suite 3300
          Houston, TX 77057

2)     Nature and amount ofthe.Obligation for which Claimant's ptivilegels Claimed:

          Labor, materials, services and related supplieS and eltpenses,in connection with
          offshore drilling services under a contract between Claimant and the Operator for the
          Well (as defined in Section 5 below)in the amount of$.5,824,744;68, plus
          contractually Wed interest at the rate of 10,percent per annum, and contractually
          owed attorneys' fees and expenses(collectively, the ”Obligations"). The Obligations
          include, but are not limited to obligations owed to Claimant(a) as a contractor for the
          price of contract with Operator for operations With respect to the Well; arid(b)as a
          seller for the price of movables gild to Operator that are incorporated in the Well or
          in a facility located on the well site; consumed in operations; and/or consumed at the
          site Of the Well by a person performing labor or services on the site of     Well
          located in the Waters of the State OfLOnisiana. Invoices evidencing the Obligations
          are attached hereto. The date of the last activity givmg nse to Claimant's privilege
          set forth in this Statement ofPrivilege is July 4,2020..

3)    Narhe and address ofthe person owing the:amount for which Claimant's privilege is
      claimed:

         .Fieldwood Energy 1_,LQ
          2000 W.Sam Houston 13 -1.cway South, Suite 1200
          Houston, TX 77042

4)    Name.and address of the operator of the well as shown by the records of the Commission
      Of conservation:

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                                                                             ISIT;      221 5417
                                                                                   st   770-579 t
                                                                             7/IAS2n70 13n;tr. ,PmE
                                                                             MB X' CB MI UCC

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            'Not -applicable as this well is located on the Outer Continental Shelf; however, the
            Operator Of the Well is as follows:

            FieldwOdcl Energy:LL.0
            2000 W.Sam Houston Parkway South, Strite 1200
            Houston, TX 77042

5)      Description ofthe Operating Interest-Upon Which .. the Privilege is Claimed,,or ofthe
        Well'with ReSpeCtIO Which the Operations Giving Rise to Claimant's Privilege-were
        PerfOrined:

            The privilege is claimed upon the operating intereSt Of Fieldwood Energy LI,C in
            Mississippi Canyon Block 94$,Lease No,OcS.-G48030(the "Lease"), and Well #4
           (OCS-G-18030) drilled by Claimant on behalf of Fieldwood Energy 12LC during the
            time from hide 4,2020, until July 4,.2020(the "Well"),including the operating interest
            under whin the opetatiOng_giving rige to the Clainiant's privilege are Conducted
            together with the interest of the lessee and/Or operator ofSnehinteregt in any (a) well,
           building,tank,leasehold Pipeline, and other construction Qr facility on the well site;(b)
           movable on the well site that is used in operations, other than a movable that is only
           ti anSiently on the well site for repair, testing, or other temporary.use;(c) ti att of land,
           servitude, and lease described in La. R.S. 94861(12)(c) cciVeiing the Well site of the
           Operating interest, (d) dulling Or othef rig located at the Well Site of the Operating
           interest if the rig is owned by the Operator Or by a contractor from whom the activities
           giving rise to the Claimant's privilege emanate; (6) the interest Of the Operator and
           participating lessee in hydrocarbons produced from the operating interest and the
           interest of a non-participating leSsee in hydrotarbons produced from that part of his
           operating interest subject to the privilege, and (f) the prOodedS received by, and the
           obligations Owed to, a lessee from the disposition Of hydrocarbons subject to the
           privilege.

        This Statement Of PriVilege is made by Claimant for the purpose of preserving its claim,
lien and privilege as a provider of materials, labor and services for.and to the Operator and Well
described above, including, without limitation, all claims, liens and privileges .under La. R.S.
9:4801 et seq., and all claims for interest due on the obligations, along with the cost of preparing
and filing this Statement ofPrivilege, and attorneys' fees and costs, to the fullest Went permitted
by applicable law.

           [remainder Of page intentionally blank - Signature f011oWSOn hat page]




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         Date: July       2020               ATLANTjcjyt00..TNt:SER                 LLC,
                                             a Delaware limited liability company


                                                  ,
                                              Name
                                             'Title: f,)

Sworn to and subscribed before me, Notary Public,
this ta A-\\ day of July 2020.


No 14
   .-1
1\1c)t   .r Roll No                sk   (0
My Commission Expires; _



                 ' JUANITA. 'PL'060
              Notary Public State.oUTexais
              Comm •Eicpireg 04, 19.;2‘023




                                               Debtors' Exhibit No. 9
                                                  Page 59 of 87
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     VA1,,,A. 13.,                                    Mo•E!!it.yarilirrl-§0i.i01_14.

     1N               !                                                                                                                 !INVOICE
                                                      Houstoh, TX 47057
            r - flu'
       • '. „    :.-.                                        (281)8094377




            " • FJELDWDOO.ENERGY LLC                                                                   INVOICE.N.Of
                                                                                                                 F10132007260
            TO:
                  2000.'W.-SAMWOUSTON PARKWAY SOUTH                                               IN               7/1/2020
                  SUITE 1.200                                                              •            NUMBER 13 .
                  HOUSTON,TX 77,042                                                               Ai.NyiONT1R4     45 DAYS
                                                                                                            .Fgp
                  ATTN: N. GE.AAATI00.T                                                           WELL N1,00gA:            #.4;
                                                                                                     !_Ge/kTioN:. ktc,8.40 #4.


          .AFE FW205014


                   GAywoRA BILLING F.ORROWAN RESOLUTE FOR THE MONTH OF JUNE
                  ,PEF,AFTICLEOF THE:.OFFSHORE DAYWORK DRILLING CONTRACT
                   AND SIGNED gip. MA EP.FXP.ATTACAEDi
                  FROM 16 00 HOURS ON 06104/2020 TATtu.24;00 Fipt.m0 ON 06/30/2020

                  GAYkAit E-Fotefiiie
                                                                                                   DAYRATE
                                         HOURS di.A-Atiqd AT                                        5185,000.00            $4,378,333.31
                                     0.0 AGUA0 STANDBY AT                                           $181,300.00                     $o:go
                                     0.8 HOURS:004:J_                                               S166,500.00                 _ $0.00
                                   16.0 HOOFS REPAIR SUBSEA FATE                                    $105,000.00              s12.3,333.28
                                     0.5 HOURS FiEPAiFtiiiqACE:kATE.                                $185,000.00                $3,8507
                                   .47.5 HOURS:MOVE RATE                                            $181,300.00
                                    .0.0 HOURS FORCE MAJEURE                                        S166,500.00                    01)0
                                  632_0 TOTAL.HOURS

                  Creyv.Sh9r:iage




                                                                                               AMOUNT bk.i.E:               4,864:343.68.




                     REMITACHAAYmttki-rt TO:                                                   Cacting: BU10070
      Beneficiary. :Allarilid Maritime Service L!:b                                                (010,331.31)1.0414 t1.0-'4?g?*:).101
      Wells:Fardo Ba:n1( NA.                                                                                       10417--.119-4202.:.0.i0102
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                                                           Debtors' Exhibit No. 9
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                                               Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 61 of 87



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FIELDWOOD
 Resolute                                                                                             WELL NAME riadAilON:                       11C.948 #4
                                                                                                                                   AFE           FW295014


June 20.26                                                                                                                                                                         REPAik.             RERAIR9

                                                                                                                OgRA-ni4o,                                         moye RATE       SURFACE          :51.18SEA              -40'RCE' AJE0RE           'TOTAL
    DATE          DESCRIPTION OF WORK                                                                              $185000                                            5181..300       5145.000       5165.000,     5191:300       '
                                                                                                                                                                                                                                  .5765,60Q          HOURS:

   1 June 2020
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  5 June 2020      Working as directed, Moved-and Repelied(C19inging*1.139ieNnx'cagie)t                                 10.0                                                                               12'0                                        -24.6
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  7 June 2020      Working as directed                                                                                 24.0                                                                                                                            24.0
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 10 June 2020      Working as directed'
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                                                                                                                        24.0                                                                                                                            240
 I t June 2020-    Working as directed                                                                                 '24.0                                                                                                                           '790
 12 June 4020'     Working 83 directed                                                                                  2917                                                                                                                           24,0
 13 June 2020     .Workingis'directed                                                                                  240;                                                                                                                             24.0
 14 June 2020.    -Working as directed-                                                                                 290                                                                                                                             24.6
 15 June 2020'    -Working as direcled                                                                                  294                                                                                                                             290
 16 June 2020     -Working as directed                                                                                                                                                                                                                 440
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                                                                        Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 62 of 87




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Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 63 of 87




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                 DAYWORK BILLING FOR ROWAN RESOLUTE FOR THE MONTH OF JULY
                 PER ARTICLE OF T1-(E'bFFSkiDRE,DAyWORKti.Tp_.tRg CONTRACT
                 AND S!GNED:RiG TIMESHEET All ACHED.

                 FROM 00:00 HOURS ON 07101/2020 TNR1).24:00:HOLIFit ON 07/0412020


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                                                        Debtors' Exhibit No. 9
                                                           Page 63 of 87
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                                                                                                                                                                                                                                                     Engineer: J.Perro0;
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                                       Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 65 of 87



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           Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 67 of 87




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                                                     Hiiusteii; TXi 7.7.67
                                                                                                                                 INVOICE
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             TaJFIEI,PWC017:ENERG LLC                                                                  INyojeg ‘10.z! Evy0.2.907.20
                  00c.:)..w.s.pyyl Hp p.Tpu;PARKWAY SOUTH                                            INVOICE DATE '0/66/.26.
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                            Tx.:77P4q                                                                                  A-bAys
           Allt4::AbcciLiNis PAYABLE                                                                               RgD 1.6 Rp.owte
                                                                                                     WELL NP.A.41:
                                                                                                                 -.3g13 '.MQ-§48:#4




                        ,AFE #:,FW205014

                TO INVOICE YOU FOR THIRD PARTY CATERING JULY 1-4, 2020 PER ATTACHED THE COMPANY
                MEALligicaTs




                               MEALS:@                               35 M1A5AL, cot,H3Ts.y                               .$

                            27 COST/DAY/PERSON                      149 COST/DAY/PERSON                                                               3,780:




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                                                            Debtors' Exhibit No. 9
                                                               Page 67 of 87
                                           Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 68 of 87




                                                                             Rowan Resolute
                                                        CLIENT THIRD PARTY ROOM AND MEAL CHARGE-OFF FOR: July 2020 Well Name. Gun(lin AFE: FW205014 Routina#580047
 Group               Date    1        2     3    4      $    6    7     8  9  10   11  12 13 14     15 16 17        18 19 20 21         22   23 24    25   26   27                      28       29       30       31
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 OFI (Oil Field Instr.)                                      -                       •                                                                     .               .
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 Pharmasafe                  1        1     1       1
 PHI Helicopters
 Pinnacle                                                                                                            .                                                          .
 Pelrolink                                                                                                                                 .
 Precision Rental                                                                                                                          _
 Premium                                                                                         •
 Protechnics                                    •
 Proserve
 Professional Rental Tools
 PRT                                                                                                                      •
 Quality Energy
 QES
 Rig Chem                                                                                                                                                           •
 RigNet                                     1       1                                                                         F.
 RPS Group Inc.
 Schlumberger
 Scientific Drilling                                                                                                                                                                                  •
 SCS                                                                 .
 Subsea Partners LLC
 SubseaSolutions                                                                                                                                           .
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TOTAL                                                                                                                                                                                   TOTAL:
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TOTAL OVER CONTRACT
                                          AFE.      FW205014                                 Acc-r- CoPS, 3025                                                                 TOTAL BILLABLE S           $3,780.00
                                          Lease: MC-948#4
                                          Project: Gunflint(STIM)                              .13.Lelktn.)
                                          Engineer: J. Perroux                                7-2-2ozo                                             1\AL_D               o1iv‘       qlz/ez,
Company Man APPROVAL                      Routing #: 580047

                                                                                                     Debtors' Exhibit No. 9
                                                                                                        Page 68 of 87
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                            Debtors' Exhibit No. 9
                               Page 69 of 87
              Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 70 of 87



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                        TO INVOICE YOU FOR:THIRD PARTY CATERING JUNE 5730,2026:PER i -n-,p4,0,17 THE.COMPANY
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                                                                                              Rig.Manager's Approval:




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                                                             Debtors' Exhibit No. 9
                                                                Page 70 of 87
                                     Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 71 of 87




                                                                            Rowan Resolute
                                                 CLJENT THIRD PARTY ROOM AND MEAL CHARGE-OFF FOR:June 2020 Well Name: GunflIn                                      AFE: FW205014 Routin #580047
 Group               Date    1   2   3       4   5   6    7    8    9  10 _ 11  12 13 14 15 16 17 18             19 20 21                                           22 23    24 25     28   27 26          29   30   31
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 Petrolink
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TOTAL OVER CONTRACT
                                 AFE:      FW205014                                   Accr coDe 1300.45                                                                                       TOTAL BILLABLE S $231,420.00
                                 Lease: MC-948#4
                                 Project: Gunflint(ST1M)                                 . autSLATL)1 2 2002__
                                 Engineer: J. Perroux
Cornpnny Man APPROVAL            Routing #: 580047                                                                                              1 ;3A4tot-Ct6k_                   t*./       -q12150
                                                                                                         Debtors' Exhibit No. 9
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                                                                                                                                                                 Rowan-Resolute
                                                                                                   CLIENT THIRD PARTY RO WAND MEAL CHAOGE-OFF'ki JUne 2020.Well' arte: Gunflint AFE: F*135014 Routinq58O07.
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                                         St. Bernard Parish Certified Copy
                                                          Randy S. Nunez
                                                           Clerk of Court
                                                   St. Bernard Parish Courthouse
                                                        Chalmette, LA 70044
                                                          (504)271-3434

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 First MORTGAGOR
 FIELDwOOD ENERGY LLC


 First MORTGAGEE
 ATLANTIC MARITIME SERVICES LLC



  Index Type:      MORTGAGES                                                      File Number:633559
  Type of Document: LIEN
                                                           Book: 1946       Page: 297
  Recording Pages:         14
         Description: PROPERTY: MISSISSIPPI CANYON BLOCK 519 LEASE NO OCS-G-27278 AND WELL #3

                                                     Recorded Information

I hereby certify that the attached document was filed for registry and recorded in the Clerk of Courts office for St.
Bernard Parish, Louisiana,

                                                                                         CLERK OF COURT
                                                                                          RANDY S. NUNEZ
    On (Recorded Date): 07/23/2020                                     •                Parish of St. Bernard
                                                                         I certify that this is a true copy of the attached
                                                                             document that was tied for registry and
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                                                                     (Mississippi Canyon 519 #3)

                                STATEMENT OF PRIVILEGE

      BEFORE ME,the undersigned Notary Public, duly commissioned and qualified for the
County of Harris, State of Texas, personally came and appeared:

        ATLANTIC MARITIME SERVICES LLC,a Delaware limited liability company
       ("Claimant")

       who states that it has a claim, lien and privilege pursuant to La. R.S. 9:4861 et sea., as
follows:

 1)     Name and Address of Claimant:

          Atlantic Maritime Services LLC
          5847 San Felipe, Suite 3300
          Houston, TX 77057

       Nature and amount ofthe obligation for which Claimant's privilege is claimed:

          Labor, materials, services and related supplies and expenses, in connection with
          offshore drilling services under a contract between Claimant and the Operator for the
          Well (as defined in Section 5 below) in the amount of $5,528.25 plus contractually
          owed interest at the rate of 10 percent per annum, and contractually owed attorneys'
          fees and expenses (collectively, the "Obligations"). The Obligations include, but are
          not limited to obligations owed to Claimant (a) as a contractor for the price of its
          contract with Operator for operations with respect to the Well; and (b) as a seller for
          the price of movables sold to Operator that are incorporated in the Well or in a facility
          located on the well site; consumed in operations; and/or consumed at the site of the
          Well by a person performing labor or services on the site of the Well located in the
          waters of the State of Louisiana Invoices evidencing the Obligations are attached
          hereto. The date ofthe last activity giving rise to Claimant's privilege set forth in this
          Statement of Privilege is April 5,2020.

3)    Name and address ofthe person owing the amount for which Claimant's privilege is
      claimed:

         Fieldwood Energy LLC
       • 2000 W.Sam Houston Parkway South, Suite 1200
         Houston, TX 77042

4)    Name and address ofthe operator ofthe well as shown by the records ofthe Commission
      of Conservation:

                                                 1




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            Not applicable as this well is located on the Outer Continental Shelf; however,the
            Operator ofthe Well is as follows:

            Fieldwood Energy LLC
            2000 W.Sam Houston Parkway South, Suite 1200
            Houston, TX 77042

5)      Description ofthe Operating Interest Upon Which the Privilege is Claimed, or ofthe
        Well with Respect to Which the Operation's Giving Rise to Claimant's Privilege were
        Performed:

           The privilege is claimed upon the operating interest of Fieldwood Energy LLC in
           Mississippi Canyon Block 519,Lease No. OCS-G-27278(the "Lease"), and Well#3
          (OCS-G-27278) drilled by Claimant on behalf of Fieldwood Energy LLC during the
           time from January 29, 2020, until April 5, 2020 (the "Well"), including the operating
           interest under which the operations giving rise to the Claimant's privilege are conducted
           together with the interest ofthe lessee and/or operator ofsuch interest in any(a) well,
           building, tank,leasehold pipeline, and other construction or facility on the well site;(b)
           movable on the well site that is used in operations, other than a movable that is only
          transiently on the well site for repair, testing, or other temporary use;(c)tract ofland,
           servitude, and lease described in La. R.S. 9:4861(12)(c) covering the well site of the
           operating interest; (d) drilling or other rig located at the well site of the operating
          interest ifthe rig is owned by the operator or by a contractor from whom the activities
          giving rise to the Claimant's privilege emanate;(e) the interest of the operator and
          participating lessee in hydrocarbons produced from the operating interest and the
          interest of a non-participating lessee in hydrocarbons produced from that part of his
          operating interest subject to the privilege; and (f) the proceeds received by, and the
          obligations owed to, a lessee from the disposition of hydrocarbons subject to the
          privilege.

        This Statement of Privilege is made by Claimant for the purpose of preserving its claim,
lien and privilege as a provider of materials, labor and services for and to the Operator and Well
described above, including, without limitation, all claims, liens and privileges under La. R.S.
9:4861 et seo., and all claims for interest due on the obligations, along with the cost of preparing
and filing this Statement ofPrivilege, and attorneys' fees and costs, to the fullest extent permitted
by applicable law.

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                                           Debtors' Exhibit No. 9
                                              Page 76 of 87
  Case 20-33948 Document 587-9 Filed in TXSB on 11/23/20 Page 77 of 87




Date: July 23, 2020
                                            NEAL J.        G,(#22489)
                                            SUER GA ER CABILL RICHTER
                                            KLEIN & HILBERT,L.L.C.
                                            909 Poydras Street, 27th Floor
                                            New Orleans, Louisiana 70112
                                            Telephone:(504)299-2100
                                            Facsimile:(504)299-2300
                                            MANDATARY AND ATTORNEYS FOR
                                            ATLANTIC MARITIME SERVICES LLC,a
                                            Delaware limited liability company


Sworn to and subscribed before me,Notary Public,
this 23rd day ofJuly 2020.



Chad P. Morrow, Notary Public
Notary/Bar Roll No.28695
My Commission Expires: at death

              CHAD P. MORIN:
               NOTAftY KRIM
               Aft11 NO.28S95
  PARISH Of JEFFERSON.STATE OF A.CL.
        6Tf COMMISSAIN tS FOR irr




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                                       Debtors' Exhibit No. 9
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          VALAR1S
                                                 Atlantic Maritime Service LLC
                                                 5847 San Felipe ,Suite 3500
                                                 Houston, TX 77057
                                                                                                                        INVOICE
                    111P1                                    Phone: (281)809-0377




               TO: FIELOWOOD ENERGY LLC                                                          INVOICE NO: FW02007276
                   2000 W.SAM HOUSTON PARKWAY SOUTH                                            INVOICE DATE: 07/20/20
                   SUITE 1200                                                             CUSTOMER NUMBER: 1348
                   HOUSTON,TX 77042                                                           PAYMENT TERM 45 DAYS
             ATTN: ACCOUNTS PAYABLE                                                                     RIG: Resolute

                                                                                                 WELL NUMBER MC-519 #3




                             AFE #: FW191019

                         TO INVOICE FOR EXPENSES PAID ON YOUR BEHALF FOR THE RIG LISTED ABOVE AS PER
                                                      ATTACHED INVOICES




                    66250PR3CRVL -SERVICE-ONSHORE,DRJLL PIPE,RANGE 3,6-5/8 IN OD,SCALE REMOVAL                                          5,265.00
                    PO4439741 - FR#223066




                                                Handling Charges @5%(601)                                                                263.25




                                                                                              AMOUNT DUE:         $                 5,528.25



                                                                                        Rig Manager's Approval:




           REMIT ACH PAYMENTS TO:
:neficiary: Atlantic Maritime Service LLC
ells Fargo Bank, NA
in Fransisco, CA
VIFT Code: WFBILIS6S
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                                                                                                        Purchase Orders          Activity Summary                                                                                                                                        RIM out



  Activity Summary

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       VALARIS
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 Customer Quote Register- 4831                                                                                                                            Page I of6




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